                   Case 18-12794-KG           Doc 13      Filed 12/12/18        Page 1 of 75



                        IN THE UNITED STATES BANKRUPTCY COURT
                             FOR THE DISTRICT OF DELAWARE

------------------------------------------------------------ X
                                                             :
In re                                                        :      Chapter 11
                                                             :
CHECKOUT HOLDING CORP., et al.,                              :      Case No. 18-[_____] (___)
                                                             :
                  Debtors.1                                  :      (Joint Administration Requested)
                                                             :
------------------------------------------------------------ X

                            MOTION OF DEBTORS FOR
                   ORDER (I) SCHEDULING COMBINED HEARING
            TO CONSIDER (A) APPROVAL OF DISCLOSURE STATEMENT,
          (B) APPROVAL OF SOLICITATION PROCEDURES AND FORMS OF
           BALLOTS, AND (C) CONFIRMATION OF PREPACKAGED PLAN;
                 (II) ESTABLISHING AN OBJECTION DEADLINE TO
               OBJECT TO DISCLOSURE STATEMENT AND PLAN; (III)
                 APPROVING THE FORM AND MANNER OF NOTICE
               OF COMBINED HEARING, OBJECTION DEADLINE, AND
                NOTICE OF COMMENCEMENT; (IV) CONDITIONALLY
                WAIVING REQUIREMENT OF FILING STATEMENT OF
       FINANCIAL AFFAIRS AND SCHEDULES OF ASSETS AND LIABILITIES;
         (V) CONDITIONALLY WAIVING REQUIREMENT TO CONVENE THE
      SECTION 341 MEETING OF CREDITORS; AND (VI) GRANTING RELATED
     RELIEF PURSUANT TO SECTIONS 105(A), 341, 521(A), 1125, 1126, AND 1128 OF
    THE BANKRUPTCY CODE AND BANKRUPTCY RULES 1007, 2002, 3017, AND 3018

                   Checkout Holding Corp. and its affiliated debtors in the above-captioned chapter

11 cases, as debtors and debtors in possession (collectively, the “Debtors”), respectfully

represent as follows in support of this motion (the “Motion”):




1
 The Debtors in these chapter 11 cases, along with the last four digits of each Debtor’s federal tax identification
number are: Catalina Marketing Corporation (9007); Catalina Marketing Procurement, LLC (9333); Catalina
Marketing Technology Solutions, Inc. (8728); Catalina Marketing Worldwide, LLC (9687); CellFire Inc. (5599);
Checkout Holding Corp. (4651); Modiv Media, Inc. (3507); PDM Group Holdings Corporation (9148); PDM
Holdings Corporation (5025); PDM Intermediate Holdings A Corporation (6409); and PDM Intermediate Holdings
B Corporation (3278). The Debtors’ principal offices are located at 200 Carillon Parkway, St. Petersburg, FL
33716.




RLF1 20430310V.1
                    Case 18-12794-KG          Doc 13        Filed 12/12/18      Page 2 of 75



                                              Relief Requested

                     1.      Pursuant to sections 105(a), 341, 521(a), 1125, 1126, and 1128 and of title

11 of the United States Code (the “Bankruptcy Code”), rules 1007, 2002, 3017, and 3018 of the

Federal Rules of Bankruptcy Procedure (the “Bankruptcy Rules”), and rules 1007–1, 1007–2,

3017-1, and 3018-2, of the Local Rules of Bankruptcy Practice and Procedure of the United

States District Court for the District of Delaware (the “Local Rules”), the Debtors request entry

of an order:

                   i.     scheduling a combined hearing (the “Combined Hearing”) to (a) approve the
                          Disclosure Statement for Joint Prepackaged Chapter 11 Plan of Checkout
                          Holding Corp. and Its Affiliated Debtors (as may be amended, modified, or
                          supplemented from time to time, the “Disclosure Statement”) and
                          (b) consider confirmation of the Joint Prepackaged Chapter 11 Plan of
                          Checkout Holding Corp. and Its Affiliated Debtors (as may be amended,
                          modified, or supplemented from time to time, the “Prepackaged Plan2”);

                ii.       establishing an objection deadline (the “Objection Deadline”) to object to the
                          adequacy of the Disclosure Statement or confirmation of the Prepackaged
                          Plan;

               iii.       approving the Solicitation Procedures (as defined herein) with respect to the
                          Prepackaged Plan, including the forms of Ballots (as defined herein);

               iv.        approving the form and manner of notice of the Combined Hearing, the
                          Objection Deadline, and notice of commencement;

                v.        extending the time for the Debtors to file schedules of assets and liabilities
                          and statements of financial affairs (collectively, the “Schedules and
                          Statements”) through and including March 7, 2018 (the “SOAL/SOFA
                          Deadline”), and conditionally waiving the requirement that the Debtors file
                          the Schedules and Statements upon confirmation of the Prepackaged Plan;

               vi.        conditionally waiving the requirement to convene the meeting of creditors
                          under section 341 of the Bankruptcy Code if the Prepackaged Plan becomes
                          effective on or before the SOAL/SOFA Deadline; and




2
 Capitalized terms used but not otherwise defined herein shall have the same meanings ascribed to such terms in the
Prepackaged Plan.



                                                        2
RLF1 20430310V.1
                   Case 18-12794-KG       Doc 13       Filed 12/12/18   Page 3 of 75



                   2.     A proposed form of order granting the relief requested herein is annexed

hereto as Exhibit A (the “Proposed Order”).

                   3.     The following table summarizes proposed dates related to relief requested

in the Motion (subject to the Court’s calendar), which comply with the milestones contained in

the Restructuring Support Agreement (as defined herein).

                        Event                                           Deadline
Voting Record Date                                 December 10, 2018
Commencement of Solicitation                       December 11, 2018
Petition Date                                      December 12, 2018
Mailing of Combined Notice                         December 14, 2018
Plan Supplement Filing Deadline                    January 16, 2019
Plan and Disclosure Statement Objection            January 23, 2019, at 4:00 p.m.
Deadline                                           (Eastern Standard Time)
                                                   January 23, 2019, at 5:00 p.m.
Plan Voting Deadline
                                                   (Eastern Standard Time)
                                                   January 28, 2019, at 5:00 p.m.
Reply Deadline
                                                   (Eastern Standard Time)
                                                   January 30, 2019, at 10:00 a.m.
Combined Hearing
                                                   (Eastern Time)
Section 341(a) Meeting / Schedules and             March 7, 2019, at 10:00 a.m.
Statements Deadline                                (Eastern Standard Time)

                   4.     Also, summarized below are the attachments and exhibits cited throughout

this Motion:

                        Pleading                                          Exhibit
Proposed Order                                          Exhibit A to this Motion
Combined Notice                                         Exhibit 1 to the Proposed Order
Forms of Beneficial Ballot for First Lien Debt          Exhibits B-1 through B-2 to this Motion
Claims and Second Lien Debt Claims

                                       Jurisdiction and Venue

                   5.     The Court has jurisdiction to consider this matter pursuant to 28 U.S.C. §§

157 and 1334, and the Amended Standing Order of Reference from the United States District

Court for the District of Delaware, dated February 29, 2012. This is a core proceeding pursuant




                                                   3
RLF1 20430310V.1
                   Case 18-12794-KG     Doc 13        Filed 12/12/18   Page 4 of 75



to 28 U.S.C. § 157(b). Venue is proper before the Court pursuant to 28 U.S.C. §§ 1408 and

1409.

                   6.   Pursuant to Local Rule 9013–1(f), the Debtors consent to the entry of a

final order by the Court in connection with this Motion to the extent that it is later determined

that the Court, absent consent of the parties, cannot enter final orders or judgments consistent

with Article III of the United States Constitution.

                                           Background

                   7.   On the date hereof (the “Petition Date”), the Debtors each commenced

with this Court a voluntary case under chapter 11 of title 11 of the United States Code (the

“Bankruptcy Code”). The Debtors are authorized to continue to operate their businesses and

manage their properties as debtors in possession pursuant to sections 1107(a) and 1108 of the

Bankruptcy Code. No trustee, examiner, or statutory committee of creditors has been appointed

in these chapter 11 cases.     Contemporaneously herewith, the Debtors have filed a motion

requesting joint administration of these chapter 11 cases pursuant to Bankruptcy Rule 1015(b).

                   8.   Before the Petition Date, the Debtors, with the support of their secured

lenders began the solicitation of votes on their Joint Prepackaged Chapter 11 Plan of Checkout

Holding Corp. and Its Affiliated Debtors (the “Prepackaged Plan”), through their Disclosure

Statement for Joint Prepackaged Chapter 11 Plan of Checkout Holding Corp. and Its Affiliated

Debtors pursuant to sections 1125 and 1126(b) of the Bankruptcy Code. The Debtors expect that

the Prepackaged Plan will be accepted by all classes entitled to vote in excess of the statutory

thresholds specified in section 1126(c) of the Bankruptcy Code.             Consistent with their

obligations under that certain Restructuring Support Agreement, dated as of December 11, 2018,

(as amended from time to time and including all exhibits thereto, the “RSA”), the Debtors are

seeking to emerge from chapter 11 on an expedited timeframe.


                                                 4
RLF1 20430310V.1
                   Case 18-12794-KG     Doc 13       Filed 12/12/18   Page 5 of 75



                   9.    Information regarding the Debtors’ business, capital structure, and the

circumstances leading to the commencement of these chapter 11 cases is set forth in the

Declaration of Robert A. Del Genio (the “Del Genio Declaration”), which has been filed with

this Court contemporaneously herewith.

                                      The Prepackaged Plan

                   10.   As described in more detail in the Del Genio Declaration, the Debtors

engaged in extensive discussions in late 2017, to explore, in partnership with its creditors,

various combinations of cost-rationalization processes and consensual modifications to the

Debtors’ capital structure that would allow it to continue modernizing its platform and to reverse

revenue losses. In the early Spring of 2018, certain holders of claims (the “First Lien Debt

Claims”) arising under that certain First Lien Credit Agreement, dated as of April 9, 2014 (the

“First Lien Agreement”) and certain holders of claims (the “Second Lien Debt Claims”)

arising under that certain Second Lien Credit Agreement, dated as of April 9, 2014 (the “Second

Lien Agreement”) began discussing potential restructuring transactions with a shifted the focus

to the terms of a chapter 11 restructuring. As a result of these negotiations, on December 11,

2018, approximately 93% of the holders of certain First Lien Debt Claims and approximately

78% holders of certain Second Lien Debt Claims (together the, “Restructuring Support

Parties”) entered into a restructuring support agreement (the “Restructuring Support

Agreement”) with the Debtors. Under the terms of the Restructuring Support Agreement, the

Restructuring Support Parties agreed to enter into a deleveraging transaction to restructure the

existing debt and other obligations of the Debtors through the Prepackaged Plan

(the “Restructuring”).




                                                 5
RLF1 20430310V.1
                   Case 18-12794-KG       Doc 13       Filed 12/12/18   Page 6 of 75



                   11.    In accordance with the terms of the Restructuring Support Agreement, on

December 11, 2018, the Debtors commenced a solicitation of votes from all classes entitled to

vote under the Bankruptcy Code. The forty-three (43) day solicitation will end on January 23,

2019 (the “Solicitation Period”).         Pursuant to the terms of the Restructuring Support

Agreement, the Restructuring Support Parties agreed to vote in favor of, and otherwise support,

the Prepackaged Plan, provided that certain conditions and milestones are satisfied.

                   12.    Under the terms of the Prepackaged Plan, the Debtors are proposing a

restructuring, with the support of each of the voting classes of claims and interests and certain

other interested parties, that, among other things, provides the following:

                   (i)    An agreement with certain holders of the First Lien Debt Claims to
                   provide financing during the chapter 11 cases in the form of a $275 million
                   debtor-in-possession financing consisting of the both money loans and roll-up
                   loans;

                   (ii)   Holders of First Lien Debt Claims will receive their pro rata share of 90%
                   of the equity (the “New Common Stock”) in the reorganized Debtors and the
                   holders of Second Lien Debt Claims will receive their pro rata share of 10% of
                   the New Common Stock, in each case subject to dilution by a contemplated
                   management incentive plan following the effective date of the Prepackaged Plan;

                   (iii) Payment in full, in the ordinary course, of the Debtors’ general unsecured
                   creditors;

                   (iv)   Holders of existing equity interests will not receive a recovery under the
                   Prepackaged Plan;

                   (v)    Negotiation of the Debtors’ agreement with The Nielsen Company (US),
                   LLC (“NCS”) to the satisfaction of its prepetition secured lenders, and if no
                   consensual resolution can be reached, the rejection of the NCS agreement with no
                   recovery to NCS; and

                   (vi)   Holders of notes issued pursuant to the note purchase agreement, dated as
                   of April 9, 2014 (as amended, restated, amended and restated, supplemented or
                   otherwise modified from time to time) pursuant to which $230 million in
                   aggregate principal amount of unsecured notes issued by PDM Intermediate
                   Holdings B Corporation will receive no distribution.




                                                   6
RLF1 20430310V.1
                   Case 18-12794-KG      Doc 13       Filed 12/12/18   Page 7 of 75



                   13.   The Restructuring will leave the Debtors’ businesses intact and will

substantially delever it by reducing its balance sheet liabilities from approximately $1.9 billion in

secured and unsecured debt to approximately $275 million in secured debt upon emergence.

                                     Basis for Relief Requested

    I.       Scheduling a Combined Hearing

                   14.   The Debtors seek a Combined Hearing to consider approval of the

Disclosure Statement, the Solicitation Procedures, and the Prepackaged Plan. Bankruptcy Rule

3017(a) provides, in part, that “the court shall hold a hearing on at least twenty-eight (28) days’

notice . . . to consider the disclosure statement and any objections or modifications thereto.”

Section 1128(a) of the Bankruptcy Code provides, “After notice, the court shall hold a hearing

on confirmation of a plan.” In addition, Bankruptcy Rule 3017(c) provides, “On or before

approval of the disclosure statement, the court shall fix a time within which the holders of claims

and interests may accept or reject the plan and may fix a date for the hearing on confirmation.”

Section 105(d)(2)(B)(vi) of the Bankruptcy Code provides that the Court may combine the

hearing on approval of a disclosure statement with the hearing on confirmation of the related

plan.

                   15.   The most sensitive and difficult tasks required to effectuate a successful

reorganization—the negotiation of consensual agreements with the Debtors’ primary lenders,

and the ultimate formulation of a chapter 11 plan of reorganization—have already been

concluded in advance of the Petition Date. As set forth in greater detail in the Del Genio

Declaration, the Debtors have begun soliciting votes on the Prepackaged Plan from all classes of

holders of Claims entitled to vote to accept or reject the Prepackaged Plan. It is anticipated that

the votes tabulated and received from these classes will be sufficient to confirm the Prepackaged




                                                  7
RLF1 20430310V.1
                   Case 18-12794-KG      Doc 13       Filed 12/12/18   Page 8 of 75



Plan. A Combined Hearing would promote judicial economy and is in the best interests of the

Debtors and their estates and creditors by enabling all parties in interest to proceed with the

confirmation process as expeditiously as possible.

                   16.   Accordingly, the Debtors respectfully request that the Court schedule the

Combined Hearing on January 30, 2019, or as soon thereafter as is practicable in light of the

Court’s calendar. The relief sought herein is necessary to the efficient administration of these

chapter 11 cases and will protect the rights of all of the Debtors’ creditors and interest holders.

In addition to the reasons set forth above, it is appropriate to enter the Proposed Order at this

time so that parties in interest may be informed as promptly as possible of the anticipated

schedule of events for confirmation of the Prepackaged Plan.

                   17.   The proposed schedule affords creditors and all other parties in interest

ample notice of these chapter 11 cases and the Combined Hearing. The proposed schedule

provides a period of fifty (50) days after service of notice of the Confirmation Hearing, during

which parties may evaluate the Prepackaged Plan prior to the proposed Combined Hearing

thereon. Consequently, no party in interest will be prejudiced by the requested relief.

    II.      Approval of the Disclosure Statement

                   18.   The Debtors will also request, at the Confirmation Hearing, that the Court

find that the Disclosure Statement contains “adequate information” as defined in section 1125(a)

and required by section 1126(b) of the Bankruptcy Code. See 11 U.S.C. §§ 1125(a), 1126(b).

The Disclosure Statement contains adequate information to permit holders of Impaired Claims

against the Debtors to make an informed judgment about the Prepackaged Plan. In addition to

the Prepackaged Plan itself, the Disclosure Statement includes disclosures regarding (i) the

operation of the Debtors’ businesses; (ii) key events leading to the commencement of these




                                                  8
RLF1 20430310V.1
                   Case 18-12794-KG        Doc 13       Filed 12/12/18   Page 9 of 75



chapter 11 cases; (iii) the Debtors’ significant prepetition indebtedness; (iv) the proposed capital

structure of the Reorganized Debtors; (v) financial information and valuations that would be

relevant to creditors’ determinations of whether to accept or reject the Prepackaged Plan; (vi) a

liquidation analysis setting forth the estimated return that holders of claims and interests would

receive in a hypothetical chapter 7 liquidation; (vii) risk factors affecting the Prepackaged Plan;

and (viii) federal tax law consequences of the Prepackaged Plan.

                   19.    The Disclosure Statement and the Solicitation Procedures instituted in

connection therewith, including the ballots, are in full compliance with applicable provisions of

the Bankruptcy Code and the Bankruptcy Rules as well as any applicable nonbankruptcy laws,

rules, or regulations governing the adequacy of disclosure in connection with such solicitation.

Accordingly, the Debtors will respectfully request that this Court find that the information

contained in the Disclosure Statement is “adequate information” as such term is defined in

section 1125(a) of the Bankruptcy Code.

    III.     Approval of Solicitation Procedures and Forms of Ballots

                   20.    The Debtors request that the Court approve the solicitation, balloting,

tabulation, and related activities undertaken in connection with the Prepackaged Plan

(collectively, the “Solicitation Procedures”) at the Combined Hearing.

    A. Classes Presumed to Accept or Deemed to Reject the Prepackaged Plan

                   21.    Section 1126(f) of the Bankruptcy Code provides that

                   Notwithstanding any other provision of this section, a class that is
                   not impaired under a plan, and each holder of a claim or interest of
                   such class, are conclusively presumed to have accepted the plan,
                   and solicitation of acceptances with respect to such class from the
                   holders of claims or interests of such class is not required.

11 U.S.C. § 1126(f).




                                                    9
RLF1 20430310V.1
                   Case 18-12794-KG       Doc 13     Filed 12/12/18     Page 10 of 75



                   22.    The Prepackaged Plan provides that each holder of a Claim or Interest in

Class 1 (Priority Non-Tax Claims), Class 2 (Other Secured Claims), Class 5 (General Unsecured

Claims Claims), Class 8 (Intercompany Claims), and Class 11 (Intercompany Interests) are

unimpaired. Pursuant to section 1126(f) of the Bankruptcy Code, the holders of claims or

interests in each of the foregoing classes are conclusively presumed to have accepted the

Prepackaged Plan and, thus, are not entitled to vote. Accordingly, the Debtors have not solicited

votes from such holders.

                   23.    Section 1126(g) of the Bankruptcy Code provides that

                   Notwithstanding any other provision of this section, a class is
                   deemed not to have accepted a plan if such plan provides that the
                   claims or interests of such class do not entitle the holders of such
                   claims or interests to receive or retain any property under the
                   Prepackaged Plan on account of such claims or interests.

11 U.S.C. § 1126(g).

                   24.    The holders of claims in Class 6 (NCS Rejection Claims), Class 7

(General Unsecured PDM Claims), Class 9 (Subordinated Claims), and Class 10 (Existing

Equity Interests) are impaired and receiving no distributions under the Prepackaged Plan.

Pursuant to section 1126(g) of the Bankruptcy Code, the holders of claims or interests in each of

the foregoing classes are conclusively presumed to have rejected the Prepackaged Plan and, thus,

are not entitled to vote. Accordingly, the Debtors have not solicited votes from such holders.

                   25.    Additionally, the holders of claims in Class 3 (First Lien Debt Claims) and

Class 4 (Second Lien Debt Claims) are impaired, receiving distributions under the Prepackaged

Plan, and, thus, entitled to vote.

                   26.    With respect to the specific Classes of Claims and Interests against the

Debtors that were presumed to accept or deemed to reject the Prepackaged Plan, the Solicitation




                                                   10
RLF1 20430310V.1
                   Case 18-12794-KG    Doc 13     Filed 12/12/18     Page 11 of 75



Procedures undertaken by the Debtors and described herein comply with the Bankruptcy Code

and should be approved. The Debtors respectfully request that the Court consider approval of

the Solicitation Procedures with respect to these Classes at the Combined Hearing.

    B. Solicitation of Classes Entitled to Vote to Accept or Reject the Prepackaged Plan

                   27.   Section 1126(b) of the Bankruptcy Code expressly permits a debtor to

solicit votes from holders of claims or interests prepetition and without a court-approved

disclosure statement if the solicitation complies with applicable non-bankruptcy law—including

generally applicable federal and state securities laws or regulations—or, if no such laws exist, the

solicited holders receive “adequate information” within the meaning of section 1125(a) of the

Bankruptcy Code.

                   28.   The Solicitation Procedures comply with all applicable non-bankruptcy

laws governing the adequacy of disclosure in connection with the solicitation. The Debtors’

prepetition Solicitation Procedures are exempt from registration pursuant to Regulation D of the

Securities Act of 1933, 15 U.S.C. §§ 77a-77aa (as amended from time to time, the “Securities

Act”) and under state “Blue Sky” laws, or any similar rules, regulations, or statutes and/or

Section 4(a)(2) of the Securities Act. Specifically, Section 4(a)(2) of the Securities Act creates

an exemption from the registration requirements under the Securities Act for transactions not

involving a “public offering.” Section 4(a)(2) exempts from registration under the Securities Act

all “transactions by an issuer not involving any public offering.” 15 U.S.C. § 77d(2). The

Solicitation is being made prior to the Petition Date only to holders of First Lien Debt Claims

and Second Lien Debt Claims who are “accredited investors” within the meaning of Rule 501(a)

of Regulation D of the Securities Act and/or who are “Qualified Institutional Buyers” (as defined

in rule 144a of the Securities Act), “Institutional Accredited Investors” (within the meaning of

Rule 501(a) of Regulation D of the Securities Act), or are non-“US Persons” (as defined in


                                                11
RLF1 20430310V.1
                   Case 18-12794-KG    Doc 13    Filed 12/12/18     Page 12 of 75



Regulation S of the Securities Act).        Accordingly, the Debtors have complied with the

requirements of the Securities Act and Section 4(a)(2) and/or Regulation D thereunder, as the

prepetition solicitation of acceptances would constitute a private placement of securities.

Accordingly, the Debtors’ prepetition solicitation complies with the requirements of section

1126(b)(1).

                   29.   Bankruptcy Rule 3018(b) provides, among other things, that prepetition

acceptances or rejections of a plan are valid only if the Prepackaged Plan was “transmitted to

substantially all creditors and equity security holders of the same class” and that the time for

voting was not “unreasonably short.” On December 11, 2018, the Disclosure Statement, the

Prepackaged Plan, and one or more of the forms of ballots (the “Ballots,” and collectively with

the Disclosure Statement and the Prepackaged Plan, the “Solicitation Package”) were served on

holders of Claims in Class 3 (First Lien Debt Claims) and Class 4 (Second Lien Claims). The

Solicitation Package established December 10, 2018 as the record date (the “Record Date”) for

determining which creditors were entitled to vote on the Prepackaged Plan, and advised

recipients that the voting period will end at 5:00 p.m. (Eastern Standard Time) on January 23,

2019 (the “Voting Deadline”).

                   30.   The Prepackaged Plan is the product of several months of extensive

negotiations among the Debtors, the Restructuring Support Parties, and other key stakeholders.

As a result, the Debtors commenced solicitation shortly before commencing these chapter 11

cases and set the Voting Deadline 43 days after solicitation. The Solicitation Period will provide

a sufficient period within which the holders of Claims entitled to vote may make an informed

decision to accept or reject on the Prepackaged Plan.




                                                12
RLF1 20430310V.1
                   Case 18-12794-KG     Doc 13     Filed 12/12/18    Page 13 of 75



                   31.   Bankruptcy Rule 3017(d) requires that the Debtors use a form of ballot

substantially conforming to Official Form No. 314. The Ballots are based on Official Form

No. 314, but were modified to address the particular aspects of these chapter 11 cases and to be

relevant and appropriate for each Class of Impaired Claims entitled to vote on the Prepackaged

Plan. To be counted as votes to accept or reject the Prepackaged Plan, the Ballots must be

properly executed, completed, and delivered to Catalina Marketing Corporation Ballot

Processing, c/o Prime Clerk LLC, 830 Third Avenue, 3rd Floor, New York, NY 10022 so that

they are received no later than the Voting Deadline. Alternatively, holders in Class 3 or Class 4

may submit their Ballots via Prime Clerk’s online E-Balloting Portal by visiting

https://cases.primeclerk.com/catalina, clicking on the “Submit E-Ballot” section of the website,

and following the instructions to submit the Ballot. Additionally, each of the Ballots was

specifically designed to conform to the Prepackaged Plan. The Debtors submit that the Ballots

satisfy the requirements of Bankruptcy Rule 3017(d).

                   32.   In consideration of the foregoing, the Solicitation Procedures and Ballots

are in full compliance with the applicable provisions of the Bankruptcy Code, the Bankruptcy

Rules, and all applicable nonbankruptcy laws, rules, and regulations. Consequently, the Debtors

respectfully request that this Court approve the Solicitation Procedures and Ballots.

    C. Continuation of the Debtors’ Prepetition Solicitation After the Petition Date

                   33.   The Debtors distributed the Disclosure Statement and Ballots prior to the

Petition Date in accordance with sections 1125 and 1126 of the Bankruptcy Code. See 11 U.S.C.

§ 1125(g) (“[A]n acceptance or rejection of the plan may be solicited from a holder of a claim or

interest if such solicitation complies with applicable nonbankruptcy law and if such holder was

solicited before the commencement of the case in a manner complying with applicable

nonbankruptcy law.”). Although the Debtors do not believe that the Disclosure Statement must


                                                 13
RLF1 20430310V.1
                   Case 18-12794-KG    Doc 13    Filed 12/12/18     Page 14 of 75



be conditionally approved for the Debtors’ prepetition solicitation to continue postpetition, the

Debtors, out of an abundance of caution, request that the Court conditionally approve the

Disclosure Statement if the Court deems it necessary to do so.

                   34.   Courts in this district have recognized that debtors may “straddle”

solicitation by commencing solicitation prior to the petition date and continuing postpetition.

See, e.g., In re Southeastern Grocers, LLC, No. 18-10700 (MFW) (Bankr. D. Del. March 29,

2018) (D.I. 131) (solicitation commenced prior to the petition date and continued postpetition);

In re Ascent Resources Marcellus Holdings, LLC; No. 18-10265(LSS) (Bankr. D. Del. Feb. 9,

2018) (D.I. 43) (same); In re Tidewater Inc., No. 17-11132 (BLS) (Bankr. D. Del. May 17, 2017)

(D.I. 378) (same); In re Homer City Generation, L.P., No. 17-10086 (MFW) (Bankr. D. Del.

Feb. 15, 2017) (D.I. 157) (same); In re Basic Energy Servs., Inc., Case No. 16-12320 (KJC)

(Bankr. D. Del. Oct. 25, 2016); In re Dex Media, Inc., Ch. 11 Case No. 16-11200 (KG) (Bankr.

D. Del. May 16, 2016) (D.I. 52) (same); In re Offshore Grp. Inv. Ltd., Ch. 11 Case No. 15-12422

(BLS) (Bankr. D. Del. Dec. 4, 2015) (D.I. 37) (same); In re Allen Sys. Grp., Inc., Ch. 11 Case

No. 15-10332 (KJC) (Bankr. D. Del. Feb. 20, 2015) (D.I. 63) (same); In re Everyware Global,

Inc., Ch. 11 Case No. 15-10743 (LSS) (Bankr. D. Del. Apr. 7, 2015) (D.I. 51) (same); In re

Sorenson Commc’ns, Inc., Ch. 11 Case No. 14-10454 (BLS) (Bankr. D. Del. Mar. 4, 2014) (D.I.

43) (same); In re CHL, LTD., Ch. 11 Case No. 12-12437 (KJC) (Bankr. D. Del. Aug. 31, 2012)

(D.I. 58) (same). Courts in other districts have also approved “straddled” solicitations. See, e.g.

In re Atlas Res. Partners, L.P., Ch. 11 Case No. 16-12149 (SHL) (Bankr. S.D.N.Y. July 25,

2016) (D.I. 41) (approving continued postpetition solicitation commenced prior to petition date);

In re Fairway Grp. Holdings Corp., Ch. 11 Case No. 16-11241 (MEW) (Bankr. S.D.N.Y. May 5,

2016) (D.I. 51) (same); In re Southcross Holdings LP, Ch. 11 Case No. 16-20111 (MI) (Bankr.




                                                14
RLF1 20430310V.1
                   Case 18-12794-KG    Doc 13    Filed 12/12/18     Page 15 of 75



S.D. Tex. Mar. 29, 2016) (D.I. 75) (same); In re Revel AC, Inc., Ch. 11 Case No. 13-16253

(JHW) (Bankr. D.N.J. Mar. 28, 2013) (D.I. 69) (same); In re CIT Grp., Inc., Ch. 11 Case No. 09-

16565 (AG) (Bankr. S.D.N.Y. Nov. 3, 2009) (D.I. 45) (same); In re Reddy Ice Holdings, Inc.,

Ch. 11 Case No. 12-32349 (Bankr. N.D. Tex. Apr. 12, 2012) (court approved solicitation

commenced on the eve prior to filing and continued postpetition). Furthermore, it is important

that these chapter 11 cases proceed as expeditiously as possible.

    IV.      Deadline and Procedures for Objections to the Disclosure Statement and the
             Prepackaged Plan

                   35.   Bankruptcy Rule 3017(a) authorizes the Court to fix a time for filing

objections to the adequacy of a disclosure statement and Bankruptcy Rule 3020(b)(1) authorizes

the Court to fix a time for filing objections to a plan of reorganization. Further, Bankruptcy Rule

2002(b) requires at least twenty-eight (28) days’ notice be given by mail to all creditors of the

time fixed for filing objections to approval of a disclosure statement and confirmation of a plan

of reorganization. Local Rule 3017-1 similarly provides that “the hearing date [to consider

approval of the disclosure statement] shall be at least thirty-five (35) days following the service

of the disclosure statement and the objection deadline shall be at least twenty-eight (28) days

from service of the disclosure statement.” The Debtors further request that the Proposed Order

provide that the Combined Hearing may be adjourned from time to time without further notice

other than an announcement of the adjourned date or dates in open court or at the Combined

Hearing, and that notice of such adjourned date(s) will be available on the electronic case filing

docket.

                   36.   The Debtors request that the Court set January 23, 2019 at 4:00 p.m.

(Eastern Standard Time) as the Objection Deadline. This date will provide holders of Claims no

less than forty-three (43) days’ notice of the deadline for filing objections to the Disclosure



                                                15
RLF1 20430310V.1
                   Case 18-12794-KG      Doc 13     Filed 12/12/18    Page 16 of 75



Statement and the Prepackaged Plan while still affording the Debtors and other parties in interest

time to file a responsive brief and, if possible, resolve any objections received. The Debtors also

request that the Court set the reply deadline of January 28, 2019.

                   37.   The Debtors further request that the Court direct that any objections to the

Disclosure Statement and/or the Prepackaged Plan be: (i) in writing, (ii) filed with the Clerk of

Court together with proof of service thereof, (iii) set forth the name of the objecting party, and

the nature and amount of any claim or interest asserted by the objecting party against the estate

or property of the Debtors, and state the legal and factual basis for such objection, and

(iv) conform to the applicable Bankruptcy Rules and the Local Rules. In addition to being filed

with the Clerk of the Court, any such objections should be served upon the following parties so

as to be received by the Objection Deadline: (i) attorneys for the Debtors, Weil, Gotshal &

Manges LLP, 767 Fifth Avenue, New York, New York 10153 (Attn: Gary Holtzer and Ronit J.

Berkovich); (ii) co-attorneys for the Debtors, Richards, Layton & Finger, P.A., One Rodney

Square, Wilmington, Delaware 19899 (Attn: Mark D. Collins and Jason M. Madron); (iii) Jones

Day, 250 Vesey Street, New York, NY 10281 (Attn: Scott J. Greenberg, Esq. and Michael J.

Cohen, Esq.) and Pachulski Stang Ziehl & Jones LLP, 919 N. Market Street, Wilmington, DE

19801 (Attn: Laura Davis Jones, Esq.), as counsel to the DIP lenders and the ad hoc group of

certain holders of the First Lien Term Loans; (iv) Paul, Weiss, Rifkind, Wharton & Garrison

LLP, 1285 Avenue of the Americas, New York, NY 10019 (Attn: Brian S. Hermann, Esq., and

Robert A. Britton, Esq.), and Young Conaway Stargatt & Taylor, LLP, Rodney Square, 1000

North King Street, Wilmington, Delaware, 19801 (Attn.: Pauline K. Morgan, Esq.), as counsel to

the DIP lenders and the ad hoc group of certain holders of the Second Lien Term Loans; (v)

Davis Polk & Wardwell LLP, 450 Lexington Ave, New York, NY 10017 (Attn: Brian M.




                                                  16
RLF1 20430310V.1
                   Case 18-12794-KG     Doc 13     Filed 12/12/18     Page 17 of 75



Resnick, Esq.), as counsel to JPMorgan Chase Bank, N.A., as administrative agent under the

First Lien Credit Agreement; (vi) Wilmer Cutler Pickering Hale and Dorr LLP, 7 World Trade

Center, 250 Greenwich Street, New York, New York 10007 (Attn.: Andrew N. Goldman, Esq.),

as counsel to Wilmington Savings Fund Society, FSB, as administrative agent under the Second

Lien Credit Agreement; (vii) Debevoise & Plimpton LLP, 919 Third Avenue, New York, NY

10022 (Attn: My Chi To, Esq.), as counsel to an ad hoc group of holders of the HoldCo PIK

Toggle Notes of PDM Intermediate Holdings B Corporation; (viii) the Internal Revenue Service;

(ix) the United States Attorney’s Office for the District of Delaware; (x) and the United States

Trustee for the District of Delaware; and (xii) any other party entitled to notice pursuant to Local

Rule 9013-1(m)..

    V.       Form and Manner of Notice of the Combined Hearing and the Commencement
             of These Chapter 11 Cases

                   38.   The Debtors propose to serve a notice and summary of the Prepackaged

Plan (the “Combined Notice”) immediately upon entry of the Proposed Order substantially in

the form annexed as Exhibit 1 to the Proposed Order, upon all parties in interest. The Combined

Notice sets forth (i) the date, time, and place of the Combined Hearing, (ii) instructions for

obtaining copies of the Disclosure Statement and Prepackaged Plan, (iii) the Objection Deadline

and the procedures for filing objections to the Disclosure Statement and the confirmation of the

Prepackaged Plan, and (iv) notice of commencement of these chapter 11 cases.

                   39.   In addition, Bankruptcy Rule 2002(l) permits a court to “order notice by

publication if it finds that notice by mail is impracticable or that it is desirable to supplement the

notice.” The Debtors request that this Court authorize the Debtors, in their discretion, to give

supplemental publication notice of the Combined Hearing on a date no less than twenty-




                                                 17
RLF1 20430310V.1
                   Case 18-12794-KG       Doc 13    Filed 12/12/18      Page 18 of 75



eight (28) days prior to the Combined Hearing. The proposed notice schedule, as described

above, affords parties in interest ample notice of these proceedings.

                   40.    The Debtors request that the Court determine that they are not required to

distribute copies of the Prepackaged Plan or the Disclosure Statement to any holder of a Claim

against or Interest in the Debtors within a Class under the Prepackaged Plan that is deemed to

accept or is deemed to reject the Prepackaged Plan, unless such party makes a specific request in

writing for the same. Bankruptcy Rule 3017(d) provides, in relevant part, as follows:

                   If the court orders that the disclosure statement and the
                   Prepackaged Plan or a summary of the Prepackaged Plan shall not
                   be mailed to any unimpaired class, notice that the class is
                   designated in the Prepackaged Plan as unimpaired and notice of the
                   name and address of the person from whom the Prepackaged Plan
                   or summary of the Prepackaged Plan and disclosure statement may
                   be obtained upon request and at the Prepackaged Plan proponent’s
                   expense, shall be mailed to members of the unimpaired class
                   together with the notice of the time fixed for filing objections to
                   and the hearing on confirmation.

Fed. R. Bankr. P. 3017(d). The Prepackaged Plan provides that holders of Claims in Class 5

(General Unsecured Claims), Class 8 (Intercompany Claims), and Class 11 (Intercompany

Interests) are deemed accept. Accordingly, holders of Claims in each of the above-mentioned

unimpaired Classes are conclusively presumed to accept the Prepackaged Plan and were not

solicited.

                   41.    The Debtors request that the Court apply the same rationale to Class 6

(NCS Rejection Claims), Class 7 (General Unsecured PDM Claims), Class 9 (Subordinated

Claims), and Class 10 (Existing Equity Interests), all of which are deemed to reject the

Prepackaged Plan and waive the requirement that the Debtors send a copy of the Prepackaged

Plan and Disclosure Statement to members of such Classes. In lieu of furnishing each such

holder of a Claim against or Interest in the Debtors that is either deemed to accept or is deemed



                                                   18
RLF1 20430310V.1
                   Case 18-12794-KG     Doc 13     Filed 12/12/18    Page 19 of 75



to reject the Prepackaged Plan with a copy of the Prepackaged Plan and the Disclosure

Statement, the Debtors propose to send to such holders the Combined Notice, which sets forth

the manner in which a copy of the Prepackaged Plan and the Disclosure Statement may be

obtained. In addition, the Debtors have made the Disclosure Statement and the Prepackaged

Plan available at no cost on Prime Clerk LLC’s website at https://cases.primeclerk.com/Catalina.

The Debtors submit that such notice satisfies the requirements of Bankruptcy Rule 3017(d).

    VI.      Extensions and Conditional Waivers of the 341 Meeting and the Filing of the
             Schedules and Statements

                   42.   The Debtors also request that the Court grant an extension of time to file

the Schedules and Statements and to waive the requirement to file the Schedules and Statements

in the event the Prepackaged Plan is confirmed. Section 521 of the Bankruptcy Code requires a

debtor to file schedules of assets and liabilities and statements of financial affairs unless the

Court orders otherwise. 11 U.S.C. § 521(a)(1)(A)–(B). These schedules and statements must be

filed within 14 days after the petition date unless the bankruptcy court grants an extension of

time “on motion for cause shown.” Fed. R. Bankr. P. 1007(c). As a matter of course, the

Debtors are already entitled to an extension to thirty (30) days from the Petition Date because the

Debtors’ claims agent is maintaining the consolidated creditor matrix as of the Petition Date, and

the Debtors have over 200 creditors. See Local Rule 1007-1(b). The Court is authorized to grant

the Debtors’ further extension “for cause” pursuant to Bankruptcy Rule 1007(c) and Local Rule

1007-1(b).

                   43.   Sufficient cause exists here for such further extension through and

including the SOAL/SOFA Deadline. The purposes of filing the Schedules and Statements are

to provide notice to creditors and to disclose information about the debtor to holders of claims.

Here, however, the benefits of filing the Schedules and Statements are heavily outweighed by



                                                 19
RLF1 20430310V.1
                   Case 18-12794-KG     Doc 13     Filed 12/12/18     Page 20 of 75



their costs. Requiring the Debtors to complete the Schedules and Statements would be time

consuming, distracting to the Debtors’ advisers and management, and costly to the Debtors’

estates, while providing little benefit to most parties in interest in these chapter 11 cases at that

point. No party in interest would be prejudiced by the Court granting the Debtors’ request for an

extension through and including the SOAL/SOFA Deadline because the Debtors have proposed

the Prepackaged Plan, under which trade claims and other general unsecured claims (other than

the NCS Rejection Claims and the General Unsecured PDM Claims) will ride through the

bankruptcy unimpaired and be enforceable against the Reorganized Debtors. Therefore, the

Court should extend the deadline for filing the Schedules and Statements through and including

the SOAL/SOFA Deadline, and waive the requirement altogether if the Prepackaged Plan is

confirmed in accordance with the timetable proposed by the Debtors.

                   44.   Section 105(a) of the Bankruptcy Code, which codifies the equitable

powers of the bankruptcy court, authorizes the court to “issue any order, process, or judgment

that is necessary or appropriate to carry out the provisions of this title.” In light of the facts and

circumstances surrounding these prepackaged chapter 11 cases, this Court has authority,

consistent with section 521(a) of the Bankruptcy Code, to grant the requested relief. See, e.g., In

re Mattress Firm, Inc., No. 18-12241 (CSS) (Bankr. D. Del. Oct. 9, 2018) (D.I. 21); In re

Southeastern Grocers, LLC, No. 18-10700 (MFW) (Bankr. D. Del. March 29, 2018) (D.I.

131); In re Remington Outdoor Company, Inc., No. 18-10684 (BLS) (Bankr. D. Del. March 27,

2018) (D.I. 64); In re Tidewater Inc., No. 17-11132 (BLS) (Bankr. D. Del. May 17, 2017) (D.I.

378); In re Basic Energy Servs., Inc., Case No. 16-12320 (KJC) (Bankr. D. Del. Oct. 25, 2016);

In re Halcón Res. Corp., No. 16-11724 (BLS) (Bankr. D. Del. July 29, 2016) (D.I. 50); In re

RCS Capital Corp., Ch. 11 Case No. 16-0223 (MFW) (Bankr. D. Del. Mar. 29, 2016) (D.I. 423);




                                                 20
RLF1 20430310V.1
                   Case 18-12794-KG      Doc 13     Filed 12/12/18    Page 21 of 75



In re Offshore Grp. Inv. Ltd., Ch. 11 Case No., 15-12422 (BLS) (Bankr. D. Del. Dec. 4, 2015)

(D.I. 37); In re Hercules Offshore, Inc., Ch. 11 Case No. 15-11685 (KJC) (Bankr. D. Del. Aug.

14, 2015) (D.I. 42); In re EveryWare Glob., Inc., Ch. 11 Case No. 15-10743 (LSS) (Bankr. D.

Del. Apr. 9, 2015) (D.I. 46); In re The Dolan Co., Ch. 11 Case No. 14-10614 (BLS) (Bankr. D.

Del. Mar. 25, 2014) (D.I. 69); In re Dex One Corp., Ch. 11 Case No. 13-10533 (KG) (Bankr. D.

Del. Mar. 19, 2013) (D.I. 54); In re Sorenson Commc’ns, Inc., Ch. 11 Case No. 14-10454 (BLS)

(Bankr. D. Del. Mar. 4, 2014) (D.I. 48); In re Physiotherapy Holdings, Inc., Ch. 11 Case No. 13-

12965 (KG) (Bankr. D. Del. Dec. 6, 2013) (D.I. 103); In re Maxcom Telecomunicaciones, S.A.B.

de C.V., Ch. 11 Case No. 13-11839 (PJW) (Bankr. D. Del. Aug. 15, 2013) (D.I. 115); In re Dex

One Corp., Ch. 11 Case No. 13-10533 (KG) (Bankr. D. Del. Mar. 19, 2013), (D.I. 54); In re

Hawkeye Renewables, LLC, Ch. 11 Case No. 09-19961 (KK), 2010 WL 2745975, at *24 (Bankr.

D. Del. June 2, 2010); In re Elec. Components Int’l, Inc., 2010 WL 3350305, at *25 (Bankr. D.

Del. May 11, 2010).

                   45.   Accordingly, the Debtors respectfully request that the Court extend the

time for filing the Schedules and Statements to March 7, 2019, and, if confirmation of the

Prepackaged Plan is obtained before that date, waive this requirement.

                   46.   Additionally, the Debtors request that the Court direct the U.S. Trustee not

to convene a meeting of the creditors under section 341 of the Bankruptcy Code unless the

Prepackaged Plan is not confirmed on or prior to the SOAL/SOFA Deadline. Section 341(a) of

the Bankruptcy Code requires the U.S. Trustee to convene and preside over a meeting of

creditors (a “Section 341(a) Meeting”), and section 341(b) of the Bankruptcy Code authorizes

the U.S. Trustee to convene a meeting of equity security holders (a “Section 341(b) Meeting”




                                                  21
RLF1 20430310V.1
                   Case 18-12794-KG        Doc 13     Filed 12/12/18     Page 22 of 75



and collectively with a Section 341(a) Meeting, a “Section 341 Meeting”).                   However,

Bankruptcy Code section 341(e) provides that

                   Notwithstanding subsections (a) and (b), the court, on the request
                   of a party in interest and after notice and a hearing, for cause may
                   order that the United States trustee not convene a meeting of
                   creditors or equity security holders if the debtor has filed a plan as
                   to which the debtor solicited acceptances prior to the
                   commencement of the case.

11 U.S.C. § 341(e).

                   47.    The purpose of the Section 341 Meeting is to provide parties in interest

with a meaningful opportunity to obtain and examine important information about the debtor. In

these chapter 11 cases, however, the solicitation of the Prepackaged Plan was commenced prior

to the Petition Date, and the Debtors expect that the Prepackaged Plan will be accepted by all

classes entitled to vote in excess of the statutory thresholds specified in section 1126(c) of the

Bankruptcy Code. The Debtors intend to proceed expeditiously to confirm the Prepackaged Plan

and emerge from chapter 11 as quickly as possible. Therefore, parties are not likely to receive

any benefit from the Section 341 Meeting.

                   48.    This Court has granted the requested waiver in other prepackaged chapter

11 cases. See, e.g., In re Mattress Firm, Inc., No. 18-12241 (CSS) (Bankr. D. Del. Oct. 9, 2018)

(D.I. 21); In re Southeastern Grocers, LLC, No. 18-10700 (MFW) (Bankr. D. Del. March 29,

2018) (D.I. 131); In re Remington Outdoor Company, Inc., No. 18-10684 (BLS) (Bankr. D. Del.

March 27, 2018) (D.I. 64); In re Tidewater Inc., No. 17-11132 (BLS) (Bankr. D. Del. May 17,

2017) (D.I. 378); In re Basic Energy Servs., Inc., Case No. 16-12320 (KJC) (Bankr. D. Del. Oct.

25, 2016); In re Halcón Res. Corp., No. 16-11724 (BLS) (Bankr. D. Del. July 29, 2016) (D.I.

50); In re RCS Capital Corp., Ch. 11 Case No. 16-0223 (MFW) (Bankr. D. Del. Mar. 29, 2016)

(D.I. 423); In re Offshore Grp. Inv. Ltd., Ch. 11 Case No. 15-12422 (BLS) (Bankr. D. Del. Dec.



                                                    22
RLF1 20430310V.1
                   Case 18-12794-KG     Doc 13    Filed 12/12/18      Page 23 of 75



4, 2015) (D.I. 37); In re Seegrid Corp., Ch. 11 Case No. 14-12391 (BLS) (Bankr. D. Del. Oct.

22, 2014) (D.I. 26); In re The Dolan Co., Ch. 11 Case No. 14-10614 (BLS) (Bankr. D. Del. Mar.

25, 2014) (D.I. 80); In re Sorenson Commc’ns, Inc., Ch. 11 Case No. 14-10454 (BLS) (Bankr. D.

Del. Mar. 4, 2014) (D.I. 43); In re Physiotherapy Holdings, Inc., Ch. 11 Case No. 13-12965

(KG) (Bankr. D. Del. Nov. 14, 2013) (D.I. 49).

                   49.   Accordingly, the Debtors respectfully request that the Court direct the

U.S. Trustee not to convene a Section 341 Meeting unless the Prepackaged Plan is not confirmed

on or prior to the SOAL/SOFA Deadline.

                                              Notice

                   50.   Notice of this Motion has been provided to (i) the Office of the United

States Trustee for the District of Delaware; (ii) the holders of the five (5) largest secured claims

against the Debtors (on a consolidated basis); (iii) the holders of the thirty (30) largest unsecured

claims against the Debtors (on a consolidated basis); (iv) Jones Day, 250 Vesey Street, New

York, NY 10281 (Attn: Scott J. Greenberg, Esq. and Michael J. Cohen, Esq.) and Pachulski

Stang Ziehl & Jones LLP, 919 N. Market Street, Wilmington, DE 19801 (Attn: Laura Davis

Jones, Esq.), as counsel to the DIP lenders and the ad hoc group of lenders under the First Lien

Credit Agreement; (v) Paul, Weiss, Rifkind, Wharton & Garrison LLP, 1285 Avenue of the

Americas, New York, NY 10019 (Attn: Brian S. Hermann, Esq and Robert A. Britton, Esq.), and

Young Conaway Stargatt & Taylor, LLP, Rodney Square, 1000 North King Street, Wilmington,

Delaware, 19801 (Attn.: Pauline K. Morgan, Esq.), as counsel to the DIP lenders and an ad hoc

group of certain holders of the Second Lien Term Loans; (vi) Debevoise & Plimpton LLP, 919

Third Avenue, New York, NY 10022 (Attn: My Chi To, Esq.), as counsel to an ad hoc group of

holders of the HoldCo PIK Toggle Notes of PDM Intermediate Holdings B Corporation; (viii)

the Internal Revenue Service; (ix) the Internal Revenue Service; (x) the United States Attorney’s


                                                 23
RLF1 20430310V.1
                   Case 18-12794-KG     Doc 13    Filed 12/12/18     Page 24 of 75



Office for the District of Delaware; (xi) the Banks; and (xii) any other party entitled to notice

pursuant to Local Rule 9013-1(m) (collectively, the “Notice Parties”).         As this Motion is

seeking “first day” relief, the Debtors will serve copies of this Motion and any order entered in

respect of the Motion as required by Local Rule 9013-1(m). The Debtors submit that, in view of

the facts and circumstances, such notice is sufficient and no other or further notice need be

provided.

                   51.   No previous request for relief sought herein has been made by the Debtors

to this or any other court.




                                                 24
RLF1 20430310V.1
                   Case 18-12794-KG   Doc 13       Filed 12/12/18   Page 25 of 75



                   WHEREFORE the Debtors respectfully request entry of the Proposed Order

granting the relief requested herein and such other and further relief as the Court may deem just

and appropriate.

Dated: December 12, 2018
       Wilmington, Delaware
                                                  /s/ Jason M. Madron
                                           RICHARDS, LAYTON & FINGER, P.A.
                                           One Rodney Square
                                           920 North King Street
                                           Wilmington, Delaware 19801
                                           Telephone: (302) 651-7700
                                           Facsimile: (302) 651-7701
                                           Mark D. Collins (No. 2981)
                                           Jason M. Madron (No. 4431)

                                           -and-

                                           WEIL, GOTSHAL & MANGES LLP
                                           767 Fifth Avenue
                                           New York, New York 10153
                                           Telephone: (212) 310-8000
                                           Facsimile: (212) 310-8007
                                           Gary T. Holtzer (pro hac vice admission
                                           pending)
                                           Ronit J. Berkovich (pro hac vice admission
                                           pending)
                                           Jessica Liou (pro hac vice admission
                                           pending)
                                           Kevin Bostel (pro hac vice admission
                                           pending)

                                           Proposed Attorneys for Debtors
                                           and Debtors in Possession




                                               25
RLF1 20430310V.1
                   Case 18-12794-KG   Doc 13   Filed 12/12/18   Page 26 of 75



                                         Exhibit A

                                       Proposed Order




RLF1 20430310V.1
                   Case 18-12794-KG          Doc 13       Filed 12/12/18       Page 27 of 75



                       IN THE UNITED STATES BANKRUPTCY COURT
                            FOR THE DISTRICT OF DELAWARE

------------------------------------------------------------ X
                                                             :
In re                                                        :      Chapter 11
                                                             :
CHECKOUT HOLDING CORP., et al.,                              :      Case No. 18-[_____] (___)
                                                             :
                  Debtors.1                                  :      (Joint Administration Requested)
                                                             :
------------------------------------------------------------ X

                   ORDER (I) SCHEDULING COMBINED HEARING
             TO CONSIDER (A) APPROVAL OF DISCLOSURE STATEMENT,
           (B) APPROVAL OF SOLICITATION PROCEDURES AND FORMS OF
            BALLOTS, AND (C) CONFIRMATION OF PREPACKAGED PLAN;
    (II) ESTABLISHING AN OBJECTION DEADLINE TO OBJECT TO DISCLOSURE
       STATEMENT AND PLAN; (III) APPROVING THE FORM AND MANNER OF
              NOTICE OF COMBINED HEARING, OBJECTION DEADLINE,
              AND NOTICE OF COMMENCEMENT; (IV) CONDITIONALLY
          WAIVING REQUIREMENT OF FILING STATEMENT OF FINANCIAL
               AFFAIRS AND SCHEDULES OF ASSETS AND LIABILITIES;
    (V) CONDITIONALLY WAIVING REQUIREMENT TO CONVENE THE SECTION
        341 MEETING OF CREDITORS; AND (VI) GRANTING RELATED RELIEF

                   Upon the motion (the “Motion”)2 of Checkout Holding Corp. and its affiliated

debtors in the above-captioned chapter 11 cases, as debtors and debtors in possession

(collectively, the “Debtors”), for entry of an order (i) scheduling a combined hearing to

consider (a) approval of the Disclosure Statement (b) the Solicitation Procedures, and

(c) confirmation of the Prepackaged Plan, (ii) establishing an objection deadline to object to the

adequacy of the Disclosure Statement or confirmation of the Prepackaged Plan, (iii) approving

1
 The Debtors in these chapter 11 cases, along with the last four digits of each Debtor’s federal tax identification
number are: Catalina Marketing Corporation (9007); Catalina Marketing Procurement, LLC (9333); Catalina
Marketing Technology Solutions, Inc. (8728); Catalina Marketing Worldwide, LLC (9687); CellFire Inc. (5599);
Checkout Holding Corp. (4651); Modiv Media, Inc. (3507); PDM Group Holdings Corporation (9148); PDM
Holdings Corporation (5025); PDM Intermediate Holdings A Corporation (6409); and PDM Intermediate Holdings
B Corporation (3278). The Debtors’ principal offices are located at 200 Carillon Parkway, St. Petersburg, FL
33716.
2
  Capitalized terms used, but not otherwise defined, herein shall have the same meanings ascribed to such terms in
the Motion.




RLF1 20430310V.1
                   Case 18-12794-KG      Doc 13     Filed 12/12/18      Page 28 of 75



the form and manner of notice of the Combined Hearing, the Objection Deadline, and notice of

commencement, (iv) extending the deadline for the Debtors to file schedules of assets and

liabilities and statements of financial affairs (collectively, the “Schedules and Statements”)

through and including March 7, 2019 (the “SOAL/SOFA Deadline”), and conditionally waiving

the requirement that the Debtors file the Schedules and Statements upon confirmation of the

Prepackaged Plan, (v) conditionally waiving the requirement to convene the Section 341

Meeting, and (vi) granting related relief; and this Court having jurisdiction to consider the

Motion and the relief requested therein in accordance with 28 U.S.C. §§ 157 and 1334 and the

Amended Standing Order of Reference from the United States District Court for the District of

Delaware dated February 29, 2012; and consideration of the Motion and the relief requested

therein being a core proceeding pursuant to 28 U.S.C. § 157(b); and venue being proper before

this Court pursuant to 28 U.S.C. §§ 1408 and 1409; and notice of the Motion having been given

as provided in the Motion, and such notice having been adequate and appropriate under the

circumstances; and it appearing that no other or further notice need be provided; and this Court

having reviewed the Motion; and a hearing having been held to consider the relief requested in

the Motion (the “Hearing”); and upon the Del Genio Declaration filed contemporaneously with

the Motion, the record of the Hearing, and all of the proceedings had before this Court; and this

Court having found and determined that the relief sought in the Motion is in the best interests of

the Debtors, their estates, creditors, and all parties in interest, and that the legal and factual bases

set forth in the Motion establish just cause for the relief granted herein; and after due deliberation

and sufficient cause appearing therefor,

                   IT IS HEREBY ORDERED THAT:

                   1.    The Motion is granted as set forth herein.




                                                   2
RLF1 20430310V.1
                   Case 18-12794-KG    Doc 13    Filed 12/12/18     Page 29 of 75



                   2.    A hearing to consider compliance with disclosure and solicitation

requirements and confirmation of the Debtors’ Plan (the “Combined Hearing”) is hereby

scheduled to be held before this Court on _____ ___, 2019 at __:__ (Eastern Standard Time) or

as soon thereafter as counsel may be heard. The Combined Hearing may be adjourned from time

to time without further notice other than an announcement of the adjourned date or dates in open

court or at the Combined Hearing and notice of such adjourned date(s) will be available on the

electronic case filing docket.

                   3.    Any objections to the Disclosure Statement and/or the Prepackaged Plan

shall be in writing, filed with the Clerk of the United States Bankruptcy Court for the District of

Delaware together with proof of service thereof, set forth the name of the objecting party, and the

nature and amount of any Claim or Interest asserted by the objecting party against the estate or

property of the Debtors, state the legal and factual basis for such objection, conform to the

applicable Bankruptcy Rules and Local Rules, and be served upon the following so as to be

received no later than 4:00 p.m. (Eastern Standard Time) on January ___, 2019 (the “Objection

Deadline”): The Debtors further request that the Court direct that any objections to the

Disclosure Statement and/or the Prepackaged Plan be: (i) in writing, (ii) filed with the Clerk of

Court together with proof of service thereof, (iii) set forth the name of the objecting party, and

the nature and amount of any claim or interest asserted by the objecting party against the estate

or property of the Debtors, and state the legal and factual basis for such objection, and

(iv) conform to the applicable Bankruptcy Rules and the Local Rules. In addition to being filed

with the Clerk of the Court, any such objections should be served upon the following parties so

as to be received by the Objection Deadline: (i) attorneys for the Debtors, Weil, Gotshal &

Manges LLP, 767 Fifth Avenue, New York, New York 10153 (Attn: Gary Holtzer, Esq. and




                                                3
RLF1 20430310V.1
                   Case 18-12794-KG     Doc 13     Filed 12/12/18    Page 30 of 75



Ronit J. Berkovich, Esq.); (ii) co-attorneys for the Debtors, Richards, Layton & Finger, P.A.,

One Rodney Square, 920 North King Street, Wilmington, Delaware 19899 (Attn: Mark D.

Collins, Esq. and Jason M. Madron, Esq.); (iii) Jones Day, 250 Vesey Street, New York, NY

10281 (Attn: Scott J. Greenberg, Esq. and Michael J. Cohen, Esq.) and Pachulski Stang Ziehl &

Jones LLP, 919 N. Market Street, Wilmington, DE 19801 (Attn: Laura Davis Jones, Esq.), as

counsel to the DIP lenders and the ad hoc group of lenders under the First Lien Credit

Agreement; (iv) Paul, Weiss, Rifkind, Wharton & Garrison LLP, 1285 Avenue of the Americas,

New York, NY 10019 (Attn: Brian S. Hermann, Esq. and Robert A. Britton, Esq.), and Young

Conaway Stargatt & Taylor, LLP, Rodney Square, 1000 North King Street, Wilmington,

Delaware, 19801 (Attn: Pauline K. Morgan, Esq.), as counsel to the DIP lenders and the ad hoc

group of certain holders of the Second Lien Term Loans; (v) Davis Polk & Wardwell LLP, 450

Lexington Ave, New York, NY 10017 (Attn: Brian M. Resnick, Esq.), as counsel to JPMorgan

Chase Bank, N.A., as administrative agent under the First Lien Credit Agreement; (vii)

Debevoise & Plimpton LLP, 919 Third Avenue, New York, NY 10022 (Attn: My Chi To, Esq.),

as counsel to an ad hoc group of holders of the HoldCo PIK Toggle Notes of PDM Intermediate

Holdings B Corporation; (viii) the Internal Revenue Service; (ix) the United States Attorney’s

Office for the District of Delaware; (x) and the United States Trustee for the District of

Delaware.

                   4.    Any objections not timely filed and served in the manner set forth in this

Order may, in the Court’s discretion, not be considered and may be overruled.

                   5.    Notice of the Combined Hearing as proposed in the Motion and the form

of notice annexed hereto as Exhibit 1 shall be deemed good and sufficient notice of the

Combined Hearing and no further notice need be given; provided, however, that any provision of




                                                  4
RLF1 20430310V.1
                   Case 18-12794-KG     Doc 13    Filed 12/12/18    Page 31 of 75



Bankruptcy Rule 3017(d) requiring the Debtors to distribute the Disclosure Statement and the

Prepackaged Plan to parties not entitled to vote, whether because they are unimpaired or because

they are deemed to reject the Prepackaged Plan, or any parties in interest other than as prescribed

in this Order, shall be waived; provided further, however, the Disclosure Statement and

Prepackaged Plan shall be remain posted in .PDF format to the following page at

https://cases.primeclerk.com/Catalina and shall be provided in either electronic or paper form to

any parties in interest upon written request to the Debtors. The Debtors shall also serve a copy

of the Combined Notice on all known creditors, interest holders, and interested parties.

                   6.    Service of the Combined Notice as set forth in the Motion and herein is

sufficient notice of the Petition Date, the Combined Hearing, the Objection Deadline, and

procedures for objecting to the adequacy of the Disclosure Statement and to confirmation of the

Prepackaged Plan.

                   7.    To the extent that section 1125(b) of the Bankruptcy Code requires the

Debtors’ prepetition solicitation of acceptances for the Prepackaged Plan to be pursuant to an

approved disclosure statement in order to continue on a postpetition basis, the Court

conditionally approves the Disclosure Statement as having adequate information as required by

section 1125 of the Bankruptcy Code without prejudice to any party in interest objecting to the

Disclosure Statement at the Confirmation Hearing.

                   8.    The Debtors are authorized, pursuant to Bankruptcy Rule 2002(l), to give

supplemental publication notice of the Combined Hearing by publication in a newspaper

designated by the Debtors in their sole discretion and on a date no less than twenty-eight days

prior to the Combined Hearing.




                                                 5
RLF1 20430310V.1
                   Case 18-12794-KG     Doc 13    Filed 12/12/18     Page 32 of 75



                   9.    The time within which the Debtors shall file the Schedules and Statements

is extended through and including March 7, 2019 without prejudice to the Debtors’ right to seek

further extensions of the time within which to file the Schedules and Statements or to seek

additional relief from this Court regarding the filing of, or waiver of the requirement to file, the

Schedules and Statements.

                   10.   The requirement that the Debtors file the Schedules and Statements is

permanently waived effective upon the date of confirmation of the Prepackaged Plan, provided

confirmation occurs on or before the SOAL/SOFA Deadline.

                   11.   To the extent the automatic stay provisions of section 362 of the

Bankruptcy Code would otherwise apply, such provisions are vacated and modified to effectuate

all of the terms and provisions of the Backstop Agreement and this Order, including, without

limitation, permitting the Backstop Parties to exercise all rights and remedies under the Backstop

Agreement in accordance with its terms, terminate the Backstop Agreement in accordance with

its terms, and deliver any notice contemplated thereunder, in each case, without further order of

the Court.

                   12.   The Debtors are authorized to take all steps necessary or appropriate to

carry out the relief granted pursuant to this Order in accordance with the Motion.

                   13.   This Court shall retain jurisdiction to hear and determine all matters

arising from or related to the implementation, interpretation, and/or enforcement of this Order.



Dated:                       , 2018
         Wilmington, Delaware


                                              UNITED STATES BANKRUPTCY JUDGE




                                                 6
RLF1 20430310V.1
                   Case 18-12794-KG   Doc 13   Filed 12/12/18   Page 33 of 75



                                          Exhibit 1

                                      Combined Notice




RLF1 20430310V.1
                   Case 18-12794-KG               Doc 13         Filed 12/12/18   Page 34 of 75



                             IN THE UNITED STATES BANKRUPTCY COURT
                                  FOR THE DISTRICT OF DELAWARE

------------------------------------------------------------      X
                                                                  :
In re                                                             :     Chapter 11
                                                                  :
CHECKOUT HOLDING CORP., et al.,                                   :     Case No. 18-[_____] (___)
                                                                  :
                   Debtors.1                                      :     (Joint Administration Requested)
                                                                  :
------------------------------------------------------------      X

                               NOTICE OF COMMENCEMENT OF CASES
                            UNDER CHAPTER 11 OF THE BANKRUPTCY CODE

                                                               -AND-

         SUMMARY OF JOINT PREPACKAGED CHAPTER 11 PLAN AND NOTICE OF
        HEARING TO CONSIDER (A) DEBTORS’ COMPLIANCE WITH DISCLOSURE
        REQUIREMENTS AND (B) CONFIRMATION OF PLAN OF REORGANIZATION

NOTICE IS HEREBY GIVEN as follows:

                 1.       On December 12, 2018 (the “Petition Date”) Checkout Holding Corp. and its
affiliated debtors, as debtors and debtors in possession (collectively, the “Debtors”), each commenced a
case under chapter 11 of title 11 of the United States Code (the “Bankruptcy Code”) in the United States
Bankruptcy Court for the District of Delaware (the “Bankruptcy Court”).

                2.     On the Petition Date, the Debtors filed a “prepackaged” plan of reorganization
(the “Prepackaged Plan”) and a proposed disclosure statement (the “Disclosure Statement”) pursuant to
sections 1125 and 1126(b) of the Bankruptcy Code. Copies of the Prepackaged Plan and the Disclosure
Statement may be obtained free of charge by visiting the website maintained by the Debtors’ voting
agent, Prime Clerk, LLC (the “Voting Agent”), at Prime Clerk, LLC. Copies of the Prepackaged Plan
and Disclosure Statement may also be obtained by calling the Voting Agent at (844) 205-4337 (toll free
or    (917)    460-0912    (international   hotline),   emailing         the   Voting    Agent      at
CatalinaBallots@primeclerk.com, or emailing Debtors’ counsel at Collins@rlf.com or
Madron@rlf.com.

        On December 11, 2018, the Debtors commenced solicitation of votes to accept the Prepackaged
Plan from the holders of Class 3 Claims (First Lien Debt Claims) and Class 4 Claims (Second Lien Debt
Claims) of record as of December 10, 2018. Only holders of Class 3 Claims and Class 4 Claims, are

1
 The Debtors in these chapter 11 cases, along with the last four digits of each Debtor’s federal tax identification
number are: Catalina Marketing Corporation (9007); Catalina Marketing Procurement, LLC (9333); Catalina
Marketing Technology Solutions, Inc. (8728); Catalina Marketing Worldwide, LLC (9687); CellFire Inc. (5599);
Checkout Holding Corp. (4651); Modiv Media, Inc. (3507); PDM Group Holdings Corporation (9148); PDM
Holdings Corporation (5025); PDM Intermediate Holdings A Corporation (6409); and PDM Intermediate Holdings
B Corporation (3278). The Debtors’ principal offices are located at 200 Carillon Parkway, St. Petersburg, FL
33716.




RLF1 20430310V.1
                   Case 18-12794-KG         Doc 13       Filed 12/12/18        Page 35 of 75



entitled to vote to accept or reject the Prepackaged Plan. All other classes of claims were either deemed
to accept or reject the Prepackaged Plan and, therefore, are not entitled to vote. The deadline for the
submission of votes to accept or reject the Prepackaged Plan is January [__], 2019 at 5:00 p.m.
(Prevailing Eastern Time).

        The Debtors are proposing a Restructuring that, pursuant to the Prepackaged Plan, will provide
substantial benefits to the Debtors and all of their stakeholders. The Restructuring will leave the Debtors’
business intact and substantially de-levered, providing for the reduction of $1.6 billion of the Debtors’
existing debt. The Prepackaged Plan also enhances the Debtors’ near term liquidity through certain
existing secured lenders’ funding of a $40 million exit facility. This deleveraging and recapitalization
will enhance the Debtors’ long-term growth prospects and competitive position and allow the Debtors to
emerge from their chapter 11 cases (the “Chapter 11 Cases”) as reorganized entities better positioned to
withstand the current cycle of marketing-spend allocation, upgrade their software and hardware platforms,
and shore up their existing network infrastructure. The Restructuring will allow the Debtors’
management team to focus on operational performance and value creation, execute on growth initiatives
to leverage the Debtors’ network across digitally active consumers, and continue to provide their
customers with the uniquely efficient services that are their hallmark.

Summary of the Prepackaged Plan2

                3.    Solicitation of votes on the Prepackaged Plan commenced prior to the Petition
Date. The following chart summarizes the treatment provided by the Prepackaged Plan to each class of
Claims and Interests:




2
  The statements contained herein are summaries of the provisions contained in the Disclosure Statement and the
Prepackaged Plan and do not purport to be precise or complete statements of all the terms and provisions of the
Prepackaged Plan or documents referred to therein. For a more detailed description of the Prepackaged Plan, please
refer to the Disclosure Statement. Capitalized terms used but not otherwise defined herein have the meanings
ascribed to such terms in the Prepackaged Plan.



                                                        2
RLF1 20430310V.1
                         Case 18-12794-KG           Doc 13       Filed 12/12/18        Page 36 of 75




                                                                                                Entitlement to
            Claim or                                                                                            Approx.
                                                                                  Impaired or    Vote on the
 Class       Equity                            Treatment                                                       Percentage
                                                                                  Unimpaired    Prepackaged
            Interest                                                                                           Recovery3
                                                                                                     Plan
                        Except to the extent that a holder of an Allowed                                        Estimated
                        Priority Non-Tax Claim agrees to different treatment,                                   Percentage
                        on the later of the Effective Date and the date that is                                 Recovery:
                        ten (10) Business Days after the date such Priority                                       100%
                        Non-Tax Claim becomes an Allowed Claim, or as
        Priority Non-                                                                           No (Deemed to
Class 1                 soon thereafter as is reasonably practicable, each Unimpaired
        Tax Claims                                                                              accept)
                        holder of an Allowed Priority Non-Tax Claim shall
                        receive, on account of such Allowed Claim, at the
                        option of the Reorganized Debtors: (i) Cash in an
                        amount equal to the Allowed amount of such Claim
                        or (ii) other treatment consistent with the provisions
                        of section 1129(a)(9) of the Bankruptcy Code.
                      Except to the extent that a holder of an Allowed Other                                    Estimated
                      Secured Claim agrees to different treatment, on the                                       Percentage
                      later of the Effective Date and the date that is ten (10)                                 Recovery:
                      Business Days after the date such Other Secured Claim                                       100%
                      becomes an Allowed Claim, or as soon thereafter as is
                      reasonably practicable, each holder of an Allowed
                      Other Secured Claim shall receive, on account of such
        Other Secured Allowed Claim, at the option of the Reorganized                           No (Deemed to
Class 2                                                                         Unimpaired
        Claims        Debtors: (i) Cash in an amount equal to the Allowed                       accept)
                      amount of such Claim, (ii) reinstatement or such other
                      treatment sufficient to render such holder’s Allowed
                      Other Secured Claim Unimpaired pursuant to section
                      1124 of the Bankruptcy Code, or (iii) return of the
                      applicable Collateral in satisfaction of the Allowed
                      amount of such Other Secured Claim.


                        On the Effective Date, each holder of an Allowed First                                  Estimated
                        Lien Debt Claim shall be entitled to receive from (and                                  Percentage
        First Lien Debt on behalf of) CHC, in full and final satisfaction of such                               Recovery:
Class 3                                                                           Impaired      Yes
        Claims          Claim, its Pro Rata share of 90% of the New Common                                       17.4% -
                        Stock issued on the Effective Date (subject to dilution                                   43.6%
                        by the Management Incentive Plan).

                          On the Effective Date, each holder of an Allowed                                      Estimated
                          Second Lien Debt Claim shall be entitled to receive                                   Percentage
          Second Lien     from (and on behalf of) CHC), in full and final                                       Recovery:
Class 4                                                                         Impaired        Yes
          Debt Claims     satisfaction of such Claim, its Pro Rata share of 10%                                   3.8% -
                          of the New Common Stock issued on the Effective                                          9.5%
                          Date (subject to dilution by the Management
                          Incentive Plan).
Class 5 General          Except to the extent that a holder of a General Unimpaired                             Estimated
                         Unsecured Claim agrees to different treatment, on and                  No (Deemed to
        Unsecured                                                                                               Percentage

      3
       The ranges set forth under Approximate Percentage Recovery are based on the range of reorganized equity value
      of the Debtors as described in the Valuation Analysis set forth in the Disclosure Statement.



                                                                3
      RLF1 20430310V.1
                          Case 18-12794-KG           Doc 13       Filed 12/12/18       Page 37 of 75



           Creditor       after the Effective Date, the Debtors shall continue to              accept)         Recovery:
           Claims         pay or dispute each General Unsecured Claim in the                                    100%
                          ordinary course of business as if the Chapter 11 Cases
                          had never been commenced.

                      The holders of NCS Rejection Claims shall not receive                                    1.Estima
                      or retain any property under the Prepackaged Plan on                                       ted
        NCS Rejection account of such Claims, and the obligations of the                       No (Deemed to Percentage
Class 6                                                                     Impaired
        Claims        Debtors and the Reorganized Debtors on account of the                    reject)       Recovery:
                      NCS Rejection Claims shall be discharged.                                                 0%


                           The holders of General Unsecured PDM Claims shall                                   2.Estima
        General            not receive or retain any property under the                                          ted
                                                                                               No (Deemed to Percentage
Class 7 Unsecured          Prepackaged Plan on account of such Claims, and the Impaired
                                                                                               reject)       Recovery:
        PDM Claims         obligations of the Debtors and the Reorganized
                           Debtors on account of the General Unsecured PDM                                      0%
                           Claims shall be discharged.
                           On or after the Effective Date, all Intercompany                                    3.  Estima
                           Claims shall be paid, adjusted, continued, settled,                                     ted
                           reinstated, discharged, or eliminated, in each case to                              Percentage
                           the extent determined to be appropriate by the                                      Recovery:
                           Debtors or Reorganized Debtors, as applicable, in                                     100%
                           their sole discretion. All Intercompany Claims
           Intercompany    between any Debtor and a non-Debtor affiliate shall                 No (Deemed to
Class 8                                                                           Unimpaired
           Claims          be Unimpaired under the Prepackaged Plan.                           accept)




                       Subordinated Claims are subordinated pursuant to the                                    4.Estima
                       Prepackaged Plan and section 510 of the Bankruptcy                                        ted
         Subordinated Code. The holders of Subordinated Claims shall not                       No (Deemed to Percentage
Class 9                                                                         Impaired                     Recovery:
         Claims        receive or retain any property under the Prepackaged                    reject)
                       Plan on account of such Claims, and the obligations                                      0%
                       of the Debtors and the Reorganized Debtors on
                       account of Subordinated Claims shall be discharged.
                      On the Effective Date, the Existing Equity Interests will                                5.Estima
         Existing     be cancelled without further action by or order of the                                     ted
                      Bankruptcy Court.                                                        No (Deemed to Percentage
Class 10 Equity                                                                 Impaired
                                                                                               reject)       Recovery:
         Interests
                                                                                                                0%


                           Intercompany Interests are Unimpaired. On the                                       6.Estima
                           Effective Date, all Intercompany Interests will be                                    ted
           Intercompany                                                                        No (Deemed to Percentage
Class 11                   treated as set forth in Section 5.9 of the Prepackaged Unimpaired
           Interests                                                                           accept)       Recovery:
                           Plan.
                                                                                                               100%




                                                                4
      RLF1 20430310V.1
                   Case 18-12794-KG     Doc 13     Filed 12/12/18      Page 38 of 75



                   NOTICE REGARDING CERTAIN RELEASE,
      EXCULPATION AND INJUNCTION PROVISIONS IN THE PREPACKAGED PLAN

           PLEASE BE ADVISED THAT THE PREPACKAGED PLAN CONTAINS CERTAIN
RELEASE, EXCULPATION AND INJUNCTION PROVISIONS, INCLUDING:

                As of the Effective Date, except for the rights and remedies that remain in
effect from and after the Effective Date to enforce this Plan and the Plan Documents, for
good and valuable consideration, the adequacy of which is hereby confirmed, including,
without limitation, the service and contributions of the Released Parties to facilitate the
reorganization of the Debtors and the implementation of the Restructuring, the Released
Parties are deemed forever released and discharged by the Debtors, the Reorganized
Debtors, and the Estates, in each case on behalf of themselves and their respective
successors, assigns, and representatives and any and all other entities that may purport to
assert any Cause of Action derivatively, by or through the foregoing entities, from any and
all claims, interests, obligations, suits, judgments, damages, demands, debts, rights, Causes
of Action, losses, remedies, or liabilities whatsoever, including any derivative claims,
asserted or assertable on behalf of the Debtors, the Reorganized Debtors, or their Estates,
whether known or unknown, foreseen or unforeseen, existing or hereinafter arising, in law,
equity, or otherwise, that the Debtors, the Reorganized Debtors, or their Estates would
have been legally entitled to assert in their own right (whether individually or collectively)
or on behalf of the holder of any Claim or Interest or other entity, based on or relating to,
or in any manner arising from, in whole or in part, the Debtors, the Chapter 11 Cases, the
purchase, sale, or rescission of the purchase or sale of any Security of the Debtors or the
Reorganized Debtors, the subject matter of, or the transactions or events giving rise to, any
Claim or Interest that is treated in this Plan, the business or contractual arrangements
between any Debtor and any Released Party, the Restructuring, the restructuring of any
Claim or Interest before or during the Chapter 11 Cases, the Restructuring Transactions,
the DIP Facility, the Amended and Restated First Lien Credit Facility, the negotiation,
formulation, or preparation of the Disclosure Statement, the Restructuring Support
Agreement and any exhibits or documents relating thereto, and this Plan and related
agreements, instruments, and other documents (including the Plan Documents), the
solicitation of votes with respect to this Plan, any other act or omission, transaction,
agreement, event, or other occurrence, or any other relief obtained by the Debtors in the
Chapter 11 Case, other than Claims or Causes of Action arising out of or related to any act
or omission of a Released Party that is a criminal act or constitutes intentional fraud.

OTHER RELEASE, EXCULPATION AND INJUNCTION PROVISIONS ARE FOUND IN
SECTION X OF THE PREPACKAGED PLAN. YOU ARE ADVISED AND ENCOURAGED TO
CAREFULLY REVIEW AND CONSIDER THE PREPACKAGED PLAN, INCLUDING THE
RELEASE, EXCULPATION AND INJUNCTION PROVISIONS, AS YOUR RIGHTS MIGHT BE
AFFECTED.

                          Hearing to Consider Compliance with Disclosure
                       Requirements and Confirmation of the Prepackaged Plan

                4.      A combined hearing to consider compliance with the Bankruptcy Code’s
disclosure requirements and any objections thereto and to consider confirmation of the Prepackaged Plan



                                                  5
RLF1 20430310V.1
                    Case 18-12794-KG         Doc 13     Filed 12/12/18       Page 39 of 75



and any objections thereto will be held before the Honorable _______________, United States
Bankruptcy Judge, in Room ____ of the United States Bankruptcy Court, 824 Market Street, ______
Floor, Wilmington, Delaware 19801, on , January __, 2019 at __:__ _.m. (Prevailing Eastern Time) or as
soon thereafter as counsel may be heard (the “Combined Hearing”). The Combined Hearing may be
adjourned from time to time without further notice other than by filing a notice on the Bankruptcy Court’s
docket indicating such adjournment and/or an announcement of the adjourned date or dates at the
Combined Hearing. The adjourned date or dates will be available on the electronic case filing docket and
the Voting Agent’s website at https://cases.primeclerk.com/Catalina.

                  5.       Any objections to the Disclosure Statement and/or the Prepackaged Plan must
(i) be in writing, filed with the Clerk of the United States Bankruptcy for the District of Delaware together
with proof of service thereof, (ii) set forth the name of the objecting party, and the nature and amount of
any claim or interest asserted by the objecting party against the estate or property of the Debtors, (iii) state
the legal and factual basis for such objection, and (iv) be served upon the following so as to be received
no later than 4:00 p.m. (Eastern Time) on January __, 2019:

             (i)      Catalina Marketing Corporation, 200 Carillon Parkway, St. Petersburg, FL 33716
                      (Attn. David Glogoff, Chief Legal Officer);

             (ii)     proposed counsel to the Debtors, Weil, Gotshal & Manges LLP, 767 Fifth Avenue,
                      New York, New York 10153 (Attn. Gary Holtzer and Ronit J. Berkovich);

             (iii) proposed co-counsel to the Debtors, Richard, Layton & Finger, P.A., 920 N. King
                   Street, One Rodney Square, Wilmington, Delaware 19899 (Attn: Mark D. Collins and
                   Jason M. Madron);

             (iv)     the Office of the United States Trustee, 844 King Street, Suite 2207, Lockbox 35,
                      Wilmington, Delaware 19801 (Attn: Benjamin Hackman);

             (v)      counsel to the DIP lenders and the ad hoc group of lenders under the First Lien Credit
                      Agreement, Jones Day, 250 Vesey Street, New York, NY 10281 (Attn: Scott J.
                      Greenberg, Esq. and Michael J. Cohen, Esq.);

             (vi)     co-counsel to the DIP lenders and the ad hoc group of lenders under the First Lien
                      Credit Agreement, Pachulski Stang Ziehl & Jones LLP, 919 N. Market Street,
                      Wilmington, DE 19801 (Attn: Laura Davis Jones, Esq.);

             (vii) counsel to certain of the DIP lenders and an ad hoc group of certain holders of term
                   loans under the Second Lien Term Loan, Paul, Weiss, Rifkind, Wharton & Garrison
                   LLP, 1285 Avenue of the Americas, New York, NY 10019 (Attn: Brian S. Hermann,
                   Esq., and Robert A. Britton, Esq.);

             (viii) co-counsel to certain of the DIP lenders and an ad hoc group of certain holders of term
                    loans under the Second Lien Term Loan, Young Conaway Stargatt & Taylor, LLP,
                    Rodney Square, 1000 North King Street, Wilmington, Delaware, 19801 (Attn.: Pauline
                    K. Morgan, Esq.);

             (ix)     counsel to JPMorgan Chase Bank, N.A., as administrative agent under the First Lien
                      Credit Agreement, Davis Polk & Wardwell LLP, 450 Lexington Ave, New York, NY
                      10017 (Attn: Brian M. Resnick, Esq.);




                                                       6
RLF1 20430310V.1
                   Case 18-12794-KG       Doc 13     Filed 12/12/18     Page 40 of 75



             (x)     counsel to Wilmington Savings Fund Society, FSV, as administrative agent under the
                     Second Lien Credit Agreement, Wilmer Cutler Pickering Hale and Dorr LLP, 7 World
                     Trade Center, 250 Greenwich Street, New York, New York 10007 (Attn.: Andrew N.
                     Goldman, Esq.); and

             (xi)    counsel to an ad hoc group of holders of the HoldCo PIK Toggle Notes of PDM
                     Intermediate Holdings B Corporation, Debevoise & Plimpton LLP, 919 Third Avenue,
                     New York, NY 10022 (Attn: My Chi To, Esq.).


UNLESS AN OBJECTION IS TIMELY SERVED AND FILED IN ACCORDANCE WITH THIS
NOTICE, IT MAY NOT BE CONSIDERED BY THE BANKRUPTCY COURT AT THE
COMBINED HEARING.

                                          Section 341(a) Meeting

A meeting of creditors pursuant to section 341(a) of the Bankruptcy Code (the “Section 341(a)
Meeting”) will be deferred until confirmation of the Prepackaged Plan. The Section 341(a) Meeting will
not be convened if the Prepackaged Plan is confirmed within sixty (60) days after the Petition Date.
If the Section 341(a) Meeting will be convened, the Debtors will file, serve on the parties on whom it
served this notice and any other parties entitled to notice pursuant to the Bankruptcy Rules, and post on
the Website https://cases.primeclerk.com/Catalina not less than twenty-one (21) days before the date
scheduled for such meeting, a notice of, among other things, the date, time, and place of the
Section 341(a) Meeting. The meeting may be adjourned or continued from time to time
by notice at the meeting, without further notice to creditors.

Dated: Wilmington, Delaware
       ____________, 2018                            BY ORDER OF THE COURT



WEIL, GOTSHAL & MANGES LLP                           RICHARDS, LAYTON & FINGER, P.A.
767 Fifth Avenue                                     One Rodney Square
New York, New York 10153                             920 North King Street
Telephone: (212) 310-8000                            Wilmington, Delaware 19801
Facsimile: (212) 310-8007                            Telephone: (302) 651-7700
Gary T. Holtzer (pro hac vice admission pending)     Facsimile: (302) 651-7701
Ronit J. Berkovich (pro hac vice admission           Mark D. Collins (No. 2981)
pending)                                             Jason M. Madron (No. 4431)
Jessica Liou (pro hac vice admission pending)
Kevin Bostel (pro hac vice admission pending)
                                                     Attorneys for Debtors and
Attorneys for Debtors and                            Debtors in Possession
Debtors in Possession




                                                    7
RLF1 20430310V.1
                   Case 18-12794-KG   Doc 13   Filed 12/12/18   Page 41 of 75



                                         Exhibit B

Exhibit B-1 - Forms of Ballot for First Lien Debt Claims

Exhibit B-2 - Forms of Ballot for Second Lien Debt Claims




RLF1 20430310V.1
                   Case 18-12794-KG          Doc 13      Filed 12/12/18        Page 42 of 75


                                                                    Ballot for Holders of First Lien Debt Claims
                                                                                                       in Class 3


IMPORTANT: NO CHAPTER 11 CASES HAVE NOT BEEN COMMENCED AS OF THE
DATE OF DISTRIBUTION OF THIS BALLOT. THE DEBTORS (AS DEFINED HEREIN)
INTEND TO FILE CHAPTER 11 CASES AND SEEK CONFIRMATION OF THE
PREPACKAGED PLAN OF REORGANIZATION BY THE BANKRUPTCY COURT SHORTLY
THEREAFTER AS DESCRIBED IN GREATER DETAIL IN THE ACCOMPANYING
DISCLOSURE STATEMENT. THIS BALLOT IS A COMPONENT OF THE PREPETITION
SOLICITATION OF YOUR VOTE ON THE PREPACKAGED PLAN OF REORGANIZATION
DESCRIBED BELOW. THE VOTING DEADLINE IS 5:00 P.M. EASTERN STANDARD TIME
ON JANUARY 23, 2019.

                       IN THE UNITED STATES BANKRUPTCY COURT
                            FOR THE DISTRICT OF DELAWARE

                                                                Chapter 11 (Voluntary)
In re:
                                                                IMPORTANT: No chapter 11 case has
CHECKOUT HOLDING CORP., et al.,                                 been commenced as of the date of
                                                                distribution of this ballot. This ballot is a
                                            Debtors.1           prepetition solicitation of your vote on a
                                                                prepackaged plan of reorganization.
                                                                If chapter 11 cases are commenced, the
                                                                Debtors will request joint administration
                                                                of such cases.


BALLOT FOR FIRST LIEN DEBT CLAIM HOLDERS TO ACCEPT OR REJECT THE
                              PLAN

                               CLASS 3: FIRST LIEN DEBT CLAIMS


                      THE VOTING DEADLINE TO ACCEPT OR REJECT
                      THE PLAN IS 5:00 P.M., EASTERN TIME, ON
                      JANUARY 23, 2019 (THE “VOTING DEADLINE”),
                      UNLESS EXTENDED BY THE DEBTORS.



1
 The Debtors in these chapter 11 cases, along with the last four digits of each Debtor’s federal tax identification
number are: Catalina Marketing Corporation (9007); Catalina Marketing Procurement, LLC (9333); Catalina
Marketing Technology Solutions, Inc. (8728); Catalina Marketing Worldwide, LLC (9687); CellFire Inc. (5599);
Checkout Holding Corp. (4651); Modiv Media, Inc. (3507); PDM Group Holdings Corporation (9148); PDM
Holdings Corporation (5025); PDM Intermediate Holdings A Corporation (6409); and PDM Intermediate Holdings
B Corporation (3278). The Debtors’ principal offices are located at 200 Carillon Parkway, St. Petersburg, FL
33716.

                                                                                      First Lien Debt Claims
RLF1 20430310v.1
                   Case 18-12794-KG   Doc 13     Filed 12/12/18     Page 43 of 75


                                                          Ballot for Holders of First Lien Debt Claims
                                                                                             in Class 3




                      YOUR BALLOT MUST BE ACTUALLY RECEIVED
                      BY THE VOTING AGENT BY THE VOTING
                      DEADLINE OR YOUR VOTE WILL NOT BE
                      COUNTED.


       This ballot (the “Ballot”) is provided to you to solicit your vote to accept or reject the
Joint Prepackaged Chapter 11 Plan of Checkout Holding Corp. and its Affiliated Debtors (the
“Plan”) for Checkout Holding Corp. and certain other of its affiliated debtors (collectively, the
“Debtors”). Capitalized terms used in this Ballot or the attached instructions that are not
otherwise defined herein shall have the meanings given to them in the Plan.

        Please use this Ballot to cast your vote to accept or reject the Plan if you are, as of
December 10, 2018 (the “Voting Record Date”), (i) a holder of a claim (a “Holder”) against the
Debtors arising under that certain First Lien Credit Agreement (such claims against the Debtors
arising under the First Lien Credit Agreement, the “First Lien Debt Claims”), and (ii) are also
an “accredited investor” within the meaning of Rule 501 of the Securities Act of 1933, as
amended (an “Eligible Holder”). Only Eligible Holders holding First Lien Debt Claims may
vote to accept or reject the Plan using this Ballot. If you hold one or more First Lien Debt
Claims but you are not an Eligible Holder, you may not use this Ballot or any other ballot to vote
to accept or reject the Plan.

        The Plan is attached as Exhibit A to the Disclosure Statement for Joint Prepackaged
Chapter 11 Plan of Checkout Holding Corp. and Its Affiliated Debtors (the “Disclosure
Statement”), which accompanies this Ballot. The Disclosure Statement provides information to
assist you in deciding whether to accept or reject the Plan. If you do not have a Disclosure
Statement, you may obtain a copy from Prime Clerk, LLC (the “Voting Agent”) by visiting the
Voting Agent’s website at https://cases.primeclerk.com/Catalina, calling (844) 205-4337 (toll
free) or        (917) 460-0912 (international hotline), or sending an email to
Catalinaballots@primeclerk.com. You may wish to seek independent legal advice concerning
the Plan and your classification and treatment under the Plan.

        The Debtors intend to commence voluntary cases under Chapter 11 of Title 11 of the
United States Code (the “Bankruptcy Code”). The Plan can thereafter be confirmed by the
Bankruptcy Court and thereby made binding on you if it is accepted by the holders of at least
two-thirds of the aggregate principal amount and more than one-half in number of the Claims
voted in each Impaired Class, and if the Plan otherwise satisfies the applicable requirements of
section 1129(a) under the Bankruptcy Code. If the requisite acceptances are not obtained, the
Bankruptcy Court may nonetheless confirm the Plan if it finds that the Plan (a) provides fair and
equitable treatment to, and does not unfairly discriminate against, the Class or Classes rejecting
the Plan, and (b) otherwise satisfies the requirements of section 1129(b) of the Bankruptcy Code.
If the Plan is confirmed by the Bankruptcy Court, it will be binding on you whether or not you
                                                                      First Lien Debt Claims 3


RLF1 20430310v.1
                   Case 18-12794-KG   Doc 13   Filed 12/12/18     Page 44 of 75


                                                        Ballot for Holders of First Lien Debt Claims
                                                                                           in Class 3




vote or if you vote to reject the Plan. To have your vote counted, you must complete, sign and
return this Ballot to the Voting Agent by the Voting Deadline.

Your rights are described in the Disclosure Statement and the Plan annexed as Exhibit A
thereto. Both the Disclosure Statement and the Plan are included in the packet you
received with this Ballot. You should carefully and thoroughly review the Disclosure
Statement and Plan prior to voting. You may wish to obtain legal advice.

PLEASE BE ADVISED THAT THE PLAN CONTAINS CERTAIN RELEASE,
EXCULPATION, AND INJUNCTION PROVISIONS. THESE PROVISIONS ARE
FOUND IN ARTICLE X OF THE PLAN. YOU ARE ADVISED AND ENCOURAGED
TO CAREFULLY REVIEW AND CONSIDER THE PLAN, INCLUDING THE
RELEASE, EXCULPATION AND INJUNCTION PROVISIONS, AS YOUR RIGHTS
MIGHT BE AFFECTED.




                                                                    First Lien Debt Claims 4


RLF1 20430310v.1
                   Case 18-12794-KG    Doc 13    Filed 12/12/18      Page 45 of 75


                                                           Ballot for Holders of First Lien Debt Claims
                                                                                              in Class 3




                             IMPORTANT NOTICE REGARDING
                                TREATMENT FOR CLASS 3

        Claims in Class 3 (First Lien Debt Claims) consist solely of Claims arising under that
certain First Lien Credit Agreement, dated as of April 9, 2014.

       As described in more detail in the Disclosure Statement and Plan, if the Chapter 11 cases
are commenced, the Plan is confirmed and the Effective Date occurs, each holder of a First Lien
Debt Claim shall be entitled to receive, in full and final satisfaction of such Claim, its Pro Rata
share of 90% of the New Common Stock issued on the Effective Date (subject to dilution by the
Management Incentive Plan).

     PLEASE READ THE DISCLOSURE STATEMENT AND PLAN FOR MORE
DETAILS.




                                                                       First Lien Debt Claims 5


RLF1 20430310v.1
                   Case 18-12794-KG          Doc 13       Filed 12/12/18        Page 46 of 75


                                                                     Ballot for Holders of First Lien Debt Claims
                                                                                                        in Class 3




              PLEASE READ THE ATTACHED VOTING INFORMATION AND
                INSTRUCTIONS BEFORE COMPLETING THIS BALLOT.

     PLEASE COMPLETE ALL APPLICABLE ITEMS BELOW. PLEASE FILL IN ALL
OF THE INFORMATION REQUESTED UNDER ITEM 4. IF THIS BALLOT HAS NOT
BEEN PROPERLY SIGNED IN THE SPACE PROVIDED, YOUR VOTE MAY NOT BE
VALID OR COUNTED AS HAVING BEEN CAST.


Item 1. Principal Amount of Claim. The undersigned hereby certifies that as of the Voting
Record Date, the undersigned was the Holder (or authorized signatory of such Holder) of a First
Lien Debt Claim in the aggregate unpaid principal amount inserted into the box below, without
regard to any accrued but unpaid interest.2

                                               $




2
  Please note that the First Lien Debt Claim amount as of the Voting Record Date (as listed herein) may be different
than the Allowed First Lien Debt Claim on the Effective Date to the extent that any portion of the First Lien Debt
Claim is converted into DIP Facility Roll-Up Loans prior to the Effective Date.

                                                                                  First Lien Debt Claims 6


RLF1 20430310v.1
                   Case 18-12794-KG     Doc 13    Filed 12/12/18     Page 47 of 75


                                                           Ballot for Holders of First Lien Debt Claims
                                                                                              in Class 3


Item 2. Votes on Plan. Please vote either to accept or to reject the Plan with respect to your
Claims in Class 3 below. Any Ballot not marked either to accept or reject the Plan, or marked
both to accept and to reject the Plan, shall not be counted in determining acceptance or rejection
of the Plan.

                       Prior to voting on the Plan, please note the following:

    If you vote to accept the Plan, you shall be deemed to have consented to the release,
    injunction, and exculpation provisions set forth in sections 10.6, 10.7, and 10.8 of the
    Plan and attached hereto as Exhibit 1.

    If you (i) do not vote either to accept or reject the Plan, or (ii) vote to reject the Plan
    and do not check the box in Item 3 below, you shall be deemed to have consented to
    the release provisions set forth in Section 10.7 of the Plan and attached hereto as
    Exhibit 1.

    The Disclosure Statement and the Plan must be referenced for a complete
    description of the release, injunction, and exculpation.


         First Lien Debt Claim Holder’s Vote on Plan. The undersigned Holder of a Class 3
         First Lien Debt Claim votes to (check one box):

                      Accept the Plan                    Reject the Plan




                                                                           First Lien Debt Claims
RLF1 20430310v.1
                   Case 18-12794-KG      Doc 13     Filed 12/12/18    Page 48 of 75


                                                            Ballot for Holders of First Lien Debt Claims
                                                                                               in Class 3


Item 3. Optional Release Election. If you voted to reject the Plan in Item 2 above, check this
box if you elect not to grant the releases contained in Section 10.7 of the Plan. Election to
withhold consent is at your option. If you submit your Ballot without this box checked, or you
do not vote either to accept or reject the Plan, you will be deemed to consent to the releases
contained in Section 10.7 of the Plan to the fullest extent permitted by applicable law. If you
voted to accept the Plan in Item 2 above, you will be deemed to consent to the releases contained
in Section 10.7 of the Plan to the fullest extent permitted by applicable law.

                           The undersigned has voted to reject the Plan in Item 2 and elects not to
                   grant the releases contained in Section 10.7 of the Plan.




                                                                            First Lien Debt Claims
RLF1 20430310v.1
                   Case 18-12794-KG     Doc 13     Filed 12/12/18      Page 49 of 75


                                                            Ballot for Holders of First Lien Debt Claims
                                                                                               in Class 3




Item 4. Acknowledgments. By signing this Ballot, the Holder (or authorized signatory of such
Holder) acknowledges receipt of the Plan, the Disclosure Statement, and the other applicable
solicitation materials, and certifies that (i) it has the power and authority to vote to accept or
reject the Plan, (ii) it was the Holder (or is entitled to vote on behalf of such Holder) of the First
Lien Debt Claim described in Item 1 as of the Voting Record Date, (iii) it is an “accredited
investor” within the meaning of Rule 501(a) under Regulation D of the Securities Act of 1933, as
amended, (iv) it has not submitted any other Ballots for other Class 3 First Lien Debt Claims
held in other accounts or other record names, or if it has submitted Ballots for other such Claims
held in other accounts or other record names, then such Ballots indicate the same vote to accept
or reject the Plan, and (v) all authority conferred or agreed to be conferred pursuant to this
Ballot, and every obligation of the undersigned hereunder, shall be binding on the transferees,
successors, assigns, heirs, executors, administrators, trustees in bankruptcy, and legal
representatives of the undersigned, and shall not be affected by, and shall survive, the death or
incapacity of the undersigned. The undersigned understands that an otherwise properly
completed, executed, and timely returned Ballot failing to indicate either acceptance or rejection
of the Plan, or indicating both acceptance and rejection of the Plan, will not be counted.


                                               Name of Holder


                                               Signature


                                               Name of Signatory and Title


                                               Name of Institution (if different than Holder)


                                               Street Address


                                               City, State, Zip Code


                                               Telephone Number


                                               Date Completed


                                                                        First Lien Debt Claims 9


RLF1 20430310v.1
                   Case 18-12794-KG    Doc 13    Filed 12/12/18    Page 50 of 75


                                                         Ballot for Holders of First Lien Debt Claims
                                                                                            in Class 3


IN ORDER FOR YOUR VOTE TO BE COUNTED, YOUR COMPLETED BALLOT
MUST BE ACTUALLY RECEIVED BY THE VOTING AGENT BY THE VOTING
DEADLINE. PLEASE COMPLETE, SIGN, AND DATE THE BALLOT AND RETURN
IT PROMPTLY IN THE RETURN ENVELOPE PROVIDED OR AS FOLLOWS:

 By First Class Mail, Overnight Courier or Personal Delivery:

                    Catalina Marketing Corporation Ballot Processing
                    c/o Prime Clerk LLC
                    830 Third Avenue, 3rd Floor
                    New York, NY 11030




                     If Submitting Your Vote through the E-Balloting Portal

Prime Clerk will accept Ballots if properly completed through the E-Balloting Portal. To
submit your Ballot via the E-Balloting Portal, visit https://cases.primeclerk.com/catalina,
click on the “Submit E-Ballot” section of the website, and follow the instructions to
submit your Ballot.

IMPORTANT NOTE: You will need the following information to retrieve and submit
your customized electronic Ballot:

      Unique E-Ballot ID#:__________________________________________________

Prime Clerk’s E-Balloting Portal is the sole manner in which Ballots will be accepted via
electronic or online transmission. Ballots submitted by facsimile, email or other means
of electronic transmission will not be counted.

Each E-Ballot ID# is to be used solely for voting only those Claims described in Item 1 of
your electronic Ballot. Please complete and submit an electronic Ballot for each E-Ballot
ID# you receive, as applicable. Creditors who cast a Ballot using the E-Balloting Portal
should NOT also submit a paper Ballot.

If your Ballot is not received by Prime Clerk on or before the Voting Deadline, and such
Voting Deadline is not extended by the Debtors as noted above, your vote will not be
counted.

    BALLOTS RECEIVED VIA EMAIL OR FACSIMILE WILL NOT BE COUNTED.

                           TELEPHONE: (844) 205-4337 (TOLL FREE)

THE VOTING DEADLINE IS 5:00 P.M., EASTERN TIME, ON JANUARY 23, 2019.
                                                     First Lien Debt Claims
RLF1 20430310v.1
                   Case 18-12794-KG      Doc 13     Filed 12/12/18     Page 51 of 75
                                                             Ballot for Holders of First Lien Debt Claims
                                                                                                in Class 3


IF YOU HAVE ANY QUESTIONS REGARDING THIS BALLOT OR THE VOTING
PROCEDURES, PLEASE CONTACT THE VOTING AGENT BY CALLING (844) 205-4337
(TOLL FREE) OR (917) 460-0912 (INTERNATIONAL HOTLINE), OR SENDING AN
EMAIL TO CATALINABALLOTS@PRIMECLERK.COM.

VOTING INFORMATION AND INSTRUCTIONS FOR COMPLETING THE BALLOT

1.       Complete the Ballot by providing all the information requested and sign, date, and return
         the Ballot in the envelope provided to the Voting Agent. Any Ballot that is illegible,
         contains insufficient information to identify the holder, does not contain an original
         signature, or is unsigned will not be counted.

         The Voting Agent will tabulate all properly completed Ballots received on or before
         the Voting Deadline. Ballots may not be submitted to the Voting Agent by facsimile or
         email.

2.       If neither the “accept” nor the “reject” box is checked in Item 2, or the Ballot is otherwise
         not properly completed, executed, or timely returned, then the Ballot may not be counted.
         If both the “accept” and the “reject” box are checked in Item 2, the Ballot will not be
         counted.

3.       You must vote all your Class 3 First Lien Debt Claims under the Plan either to accept or
         reject the Plan. Accordingly, if you return more than one Ballot voting different First
         Lien Debt Claims, the Ballots are not voted in the same manner, and you do not correct
         this before the Voting Deadline, those Ballots will not be counted. An otherwise properly
         executed Ballot that attempts to partially accept and partially reject the Plan will likewise
         not be counted.

4.       If your Claim is held in multiple accounts, you may receive more than one Ballot coded
         for each such account for which your Claims are held. Similarly, if you hold a Claim in
         more than one Class entitled to vote you may receive more than one Ballot for each such
         Claim. Each Ballot votes only your Claims indicated on that Ballot. Accordingly, you
         must complete and return each Ballot you receive to vote multiple Claims.

5.       If you voted to reject the Plan and elect not to grant the releases contained in Section 10.7
         of the Plan, check the box in Item 3. Election to withhold consent is at your option. If
         you submit your Ballot without the box in Item 3 checked, you will be deemed to consent
         to the releases set forth in Section 10.7 of the Plan to the fullest extent permitted by
         applicable law.

6.       If you vote to accept the Plan by checking the “accept” box in Item 2, but you also check
         the box in Item 3, your election not to grant the releases will not be counted, as your vote
         in favor of the plan shall be deemed a consent to the releases set forth in Section 10.7 of
         the Plan to the fullest extent permitted by applicable law.

7.       The Ballot does not constitute, and shall not be deemed to be, a proof of claim or interest
         or an assertion or admission of a Claim or Interest.


                                                                             First Lien Debt Claims
RLF1 20430310v.1
                   Case 18-12794-KG     Doc 13     Filed 12/12/18     Page 52 of 75
                                                            Ballot for Holders of First Lien Debt Claims
                                                                                               in Class 3




8.       The Ballot is not a letter of transmittal and may not be used for any purpose other than to
         vote to accept or reject the Plan.

9.       If you cast more than one Ballot voting the same Claim prior to the Voting Deadline, the
         latest received, properly executed Ballot submitted to the Voting Agent will supersede
         any prior Ballot.

10.      In the event that (i) the Debtors revoke or withdraw the Plan, or (ii) the Confirmation
         Order is not entered or consummation of the Plan does not occur, this Ballot shall
         automatically be null and void and deemed withdrawn without any requirement of
         affirmative action by or notice to you.

11.      There may be changes made to the Plan that do not cause material adverse effects on an
         accepting Class. If such non-material changes are made to the Plan, the Debtors will not
         resolicit votes for acceptance or rejection of the Plan.

12.      NO PERSON HAS BEEN AUTHORIZED TO GIVE ANY INFORMATION OR
         ADVICE, OR TO MAKE ANY REPRESENTATION, OTHER THAN WHAT IS
         CONTAINED IN THE MATERIALS MAILED WITH THIS BALLOT OR OTHER
         MATERIALS AUTHORIZED BY THE BANKRUPTCY COURT.

13.      PLEASE RETURN YOUR BALLOT PROMPTLY TO THE VOTING AGENT IN THE
         ENVELOPE PROVIDED.

14.      IF YOU HAVE RECEIVED A DAMAGED BALLOT OR HAVE LOST YOUR
         BALLOT, OR IF YOU HAVE ANY QUESTIONS CONCERNING THIS BALLOT OR
         THE VOTING PROCEDURES, PLEASE CALLING THE VOTING AGENT AT (844)
         205-4337 (TOLL FREE) OR (917) 460-0912 (INTERNATIONAL HOTLINE), OR
         SENDING AN EMAIL TO CATALINABALLOTS@PRIMECLERK.COM. PLEASE
         DO NOT DIRECT ANY INQUIRIES TO THE BANKRUPTCY COURT.

15.      THE VOTING AGENT IS NOT AUTHORIZED TO AND WILL NOT PROVIDE
         LEGAL ADVICE.

16.      ALL BALLOTS MUST BE FULLY EXECUTED TO BE COUNTED. IF YOU ARE
         COMPLETING THIS BALLOT ON BEHALF OF ANOTHER PERSON OR ENTITY,
         INDICATE YOUR RELATIONSHIP WITH SUCH PERSON OR ENTITY AND THE
         CAPACITY IN WHICH YOU ARE SIGNING. YOU MAY BE REQUIRED TO
         PROVIDE ADDITIONAL INFORMATION OR DOCUMENTATION WITH
         RESPECT TO SUCH RELATIONSHIP.

IN ORDER FOR YOUR VOTE TO BE COUNTED, YOUR COMPLETED BALLOT
MUST BE ACTUALLY RECEIVED BY THE VOTING AGENT BY THE VOTING
DEADLINE AT THE FOLLOWING ADDRESS:


                                                                        First Lien Debt Claims 2


RLF1 20430310v.1
                   Case 18-12794-KG      Doc 13    Filed 12/12/18    Page 53 of 75
                                                           Ballot for Holders of First Lien Debt Claims
                                                                                              in Class 3




 By First Class Mail, Overnight Courier or Personal Delivery:

                    Catalina Marketing Corporation Ballot Processing
                    c/o Prime Clerk LLC
                    830 Third Avenue, 3rd Floor
                    New York, NY 11030

 If submitting your vote through the E-Balloting Portal:

                    Please visit https://cases.primeclerk.com/catalina and click on the “Submit
                    E-Ballot” section of the website, and follow the instructions.


                           TELEPHONE: (844) 205-4337 (TOLL FREE)


   THE VOTING DEADLINE IS 5:00 P.M., EASTERN TIME, ON JANUARY 23, 2019.




                                                                       First Lien Debt Claims 3


RLF1 20430310v.1
                   Case 18-12794-KG   Doc 13   Filed 12/12/18    Page 54 of 75
                                                       Ballot for Holders of First Lien Debt Claims
                                                                                          in Class 3


                                          Exhibit 1




                                                                       First Lien Debt Claims
RLF1 20430310v.1
                   Case 18-12794-KG   Doc 13    Filed 12/12/18     Page 55 of 75
                                                         Ballot for Holders of First Lien Debt Claims
                                                                                            in Class 3


Plan Injunction, Releases, and Exculpation

               If you vote to accept the Plan or you, directly or indirectly, receive and
accept a distribution under the Plan, you shall be deemed to have consented to the
injunction and exculpation provisions set forth in sections 10.6, 10.7, and 10.8 of the Plan.
If you are entitled to vote on the Plan and you (i) vote to accept the Plan, (ii) do not vote to
either accept or reject the Plan, or (iii) vote to reject the Plan and do not check the box in
Item 3 above, you shall be deemed to have consented to the release provisions set forth in
Section 10.7 of the Plan. The Disclosure Statement and the Plan must be referenced for a
complete description of the release, injunction, and exculpation. Capitalized terms used in
this Exhibit that are not otherwise defined herein shall have the meanings ascribed to them
in the Plan Releases.



10. 6 Plan Injunction.

                       (a)    Except as otherwise provided in this Plan, in the Plan
Documents, or in the Confirmation Order, as of the entry of the Confirmation Order but
subject to the occurrence of the Effective Date, all Persons who have held, hold, or may
hold Claims or Interests are, with respect to any such Claim or Interest, permanently
enjoined after the entry of the Confirmation Order from: (i) commencing, conducting, or
continuing in any manner, directly or indirectly, any suit, action, or other proceeding of
any kind (including, without limitation, any proceeding in a judicial, arbitral,
administrative, or other forum) against or affecting, directly or indirectly, a Debtor, a
Reorganized Debtor, or an Estate or the property of any of the foregoing, or any direct or
indirect transferee of any property of, or direct or indirect successor in interest to, any of
the foregoing Persons mentioned in this subsection (i) or any property of any such
transferee or successor; (ii) enforcing, levying, attaching (including, without limitation, any
prejudgment attachment), collecting, or otherwise recovering in any manner or by any
means, whether directly or indirectly, any judgment, award, decree, or order against a
Debtor, a Reorganized Debtor, or an Estate or its property, or any direct or indirect
transferee of any property of, or direct or indirect successor in interest to, any of the
foregoing Persons mentioned in this subsection (ii) or any property of any such transferee
or successor; (iii) creating, perfecting, or otherwise enforcing in any manner, directly or
indirectly, any encumbrance of any kind against a Debtor, a Reorganized Debtor, or an
Estate or any of its property, or any direct or indirect transferee of any property of, or
successor in interest to, any of the foregoing Persons mentioned in this subsection (iii) or
any property of any such transferee or successor; (iv) acting or proceeding in any manner,
in any place whatsoever, that does not conform to or comply with the provisions of this
Plan, and the Plan Documents, to the full extent permitted by applicable law; and
(v) commencing or continuing, in any manner or in any place, any action that does not
comply with or is inconsistent with the provisions of this Plan and the Plan Documents;
provided, that nothing contained herein shall preclude such Persons who have held, hold, or
may hold Claims against, or Interests in, a Debtor, a Reorganized Debtor, or an Estate
from exercising their rights and remedies, or obtaining benefits, pursuant to and consistent
with the terms of this Plan and the Plan Documents.

                                                                         First Lien Debt Claims
RLF1 20430310v.1
                   Case 18-12794-KG   Doc 13   Filed 12/12/18     Page 56 of 75
                                                        Ballot for Holders of First Lien Debt Claims
                                                                                           in Class 3




                    (b)    By accepting distributions pursuant to this Plan, each holder of
an Allowed Claim or Interest will be deemed to have affirmatively and specifically
consented to be bound by this Plan, including, without limitation, the injunctions set forth
in this Section.

10.7     Releases.

                      (a)     Releases by the Debtors. As of the Effective Date, except for
the rights and remedies that remain in effect from and after the Effective Date to enforce
this Plan and the Plan Documents, for good and valuable consideration, the adequacy of
which is hereby confirmed, including, without limitation, the service and contributions of
the Released Parties to facilitate the reorganization of the Debtors and the implementation
of the Restructuring, the Released Parties are deemed forever released and discharged by
the Debtors, the Reorganized Debtors, and the Estates, in each case on behalf of themselves
and their respective successors, assigns, and representatives and any and all other entities
that may purport to assert any Cause of Action derivatively, by or through the foregoing
entities, from any and all claims, interests, obligations, suits, judgments, damages,
demands, debts, rights, Causes of Action, losses, remedies, or liabilities whatsoever,
including any derivative claims, asserted or assertable on behalf of the Debtors, the
Reorganized Debtors, or their Estates, whether known or unknown, foreseen or
unforeseen, existing or hereinafter arising, in law, equity, or otherwise, that the Debtors,
the Reorganized Debtors, or their Estates would have been legally entitled to assert in their
own right (whether individually or collectively) or on behalf of the holder of any Claim or
Interest or other entity, based on or relating to, or in any manner arising from, in whole or
in part, the Debtors, the Chapter 11 Cases, the purchase, sale, or rescission of the purchase
or sale of any Security of the Debtors or the Reorganized Debtors, the subject matter of, or
the transactions or events giving rise to, any Claim or Interest that is treated in this Plan,
the business or contractual arrangements between any Debtor and any Released Party, the
Restructuring, the restructuring of any Claim or Interest before or during the Chapter 11
Cases, the Restructuring Transactions, the DIP Facility, the Amended and Restated First
Lien Credit Facility, the negotiation, formulation, or preparation of the Disclosure
Statement, the Restructuring Support Agreement and any exhibits or documents relating
thereto, and this Plan and related agreements, instruments, and other documents
(including the Plan Documents), the solicitation of votes with respect to this Plan, any other
act or omission, transaction, agreement, event, or other occurrence, or any other relief
obtained by the Debtors in the Chapter 11 Case, other than Claims or Causes of Action
arising out of or related to any act or omission of a Released Party that is a criminal act or
constitutes intentional fraud.

                      (b)    Releases by Holders of Claims and Interests. As of the
Effective Date, except for the rights and remedies that remain in effect from and after the
Effective Date to enforce this Plan and the Plan Documents, for good and valuable
consideration, the adequacy of which is hereby confirmed, including, without limitation,
the service of and contribution of the Released Parties to facilitate the reorganization of the
Debtors and the implementation of the Restructuring, the Released Parties are deemed
                                                                    First Lien Debt Claims 2


RLF1 20430310v.1
                   Case 18-12794-KG   Doc 13   Filed 12/12/18     Page 57 of 75
                                                        Ballot for Holders of First Lien Debt Claims
                                                                                           in Class 3




forever released and discharged by the (i) the holders of all Claims and Interests who vote
to accept this Plan, (ii) holders of Claims or Interests that are Unimpaired under this Plan,
where the applicable Claims or Interests have been fully paid or otherwise satisfied in
accordance with this Plan, (iii) holders of Claims or Interests whose vote to accept or reject
this Plan was solicited but who did not vote either to accept or to reject this Plan, (iv)
holders of Claims or Interests who voted to reject this Plan but did not opt out of granting
the releases set forth herein, (v) the Restructuring Support Parties, (vi) the First Lien
Agent, (vii) the Second Lien Agent, (viii) the DIP Facility Agent, and (ix) the DIP Facility
Lenders, from any and all claims, interests, obligations, suits, judgments, damages,
demands, debts, rights, Causes of Action, losses, remedies, and liabilities whatsoever,
including any derivative claims, asserted or assertable on behalf of the Debtors, whether
known or unknown, foreseen or unforeseen, existing or hereinafter arising, in law, equity,
or otherwise, that such holders or their affiliates would have been legally entitled to assert
in their own right (whether individually or collectively) or on behalf of the holder of any
Claim or Interest or other entity, based on or relating to, or in any manner arising from, in
whole or in part, the Debtors, the Chapter 11 Cases, the purchase, sale, or rescission of the
purchase or sale of any Security of the Debtors or the Reorganized Debtors, the subject
matter of, or the transactions or events giving rise to, any Claim or Interest that is treated
in this Plan, the business or contractual arrangements between any Debtor and any
Released Party, the Restructuring, the restructuring of any Claim or Interest before or
during the Chapter 11 Cases, the Restructuring Transactions, the DIP Facility, the
Amended and Restated First Lien Credit Facility, the negotiation, formulation, or
preparation of the Disclosure Statement, the Restructuring Support Agreement and any
exhibits or documents relating thereto, this Plan and related agreements, instruments, and
other documents (including the Plan Documents), the solicitation of votes with respect to
this Plan, any other act or omission, or any other relief obtained by the Debtors in the
Chapter 11 Case, other than Claims or Causes of Action arising out of or related to any act
or omission of a Released Party that is a criminal act or constitutes intentional fraud, gross
negligence, or willful misconduct; provided, that solely for purposes of this section 10.7(b),
the Berkshire Funds shall be excluded from the definition of Released Party if they have
not executed the Restructuring Support Agreement on or before the deadline established in
the Plan for filing the Plan Supplement and become a Consenting Sponsor.

10.8     Exculpation.

               To the extent permitted by applicable law, no Exculpated Party shall have or
incur, and each Exculpated Party is hereby released and exculpated from, any Claim,
Interest, obligation, suit, judgment, damage, demand, debt, right, Cause of Action, loss,
remedy, or liability for any claim in connection with or arising out of the administration of
the Chapter 11 Cases; the negotiation and pursuit of the DIP Facility, the Amended and
Restated First Lien Credit Facility, the Management Incentive Plan, the Disclosure
Statement, the Restructuring Support Agreement, the Restructuring Transactions, and this
Plan (including the Plan Documents), or the solicitation of votes for, or confirmation of,
this Plan; the funding of this Plan; the occurrence of the Effective Date; the administration
of this Plan or the property to be distributed under this Plan; the issuance of Securities
                                                                    First Lien Debt Claims 3


RLF1 20430310v.1
                   Case 18-12794-KG   Doc 13   Filed 12/12/18     Page 58 of 75
                                                        Ballot for Holders of First Lien Debt Claims
                                                                                           in Class 3




under or in connection with this Plan; or the transactions in furtherance of any of the
foregoing; except for intentional fraud, gross negligence, or willful misconduct, but in all
respects such entities shall be entitled to reasonably rely upon the advice of counsel with
respect to their duties and responsibilities pursuant to this Plan. The Exculpated Parties
and each of their respective affiliates, agents, directors, officers, employees, advisors, and
attorneys have acted in compliance with the applicable provisions of the Bankruptcy Code
with regard to the solicitation and distribution of Securities pursuant to this Plan and,
therefore, are not, and on account of such distributions shall not be, liable at any time for
the violation of any applicable law, rule, or regulation governing the solicitation of
acceptances or rejections of this Plan or such distributions made pursuant to this Plan,
including the issuance of Securities thereunder. This exculpation shall be in addition to,
and not in limitation of, all other releases, indemnities, exculpations, and any other
applicable law or rules protecting such Exculpated Parties from liability.




                                                                    First Lien Debt Claims 4


RLF1 20430310v.1
                   Case 18-12794-KG          Doc 13      Filed 12/12/18        Page 59 of 75


                                                                  Ballot for Holders of Second Lien Debt Claims
                                                                                                      in Class 4


IMPORTANT: NO CHAPTER 11 CASES HAVE NOT BEEN COMMENCED AS OF THE
DATE OF DISTRIBUTION OF THIS BALLOT. THE DEBTORS (AS DEFINED HEREIN)
INTEND TO FILE CHAPTER 11 CASES AND SEEK CONFIRMATION OF THE
PREPACKAGED PLAN OF REORGANIZATION BY THE BANKRUPTCY COURT SHORTLY
THEREAFTER AS DESCRIBED IN GREATER DETAIL IN THE ACCOMPANYING
DISCLOSURE STATEMENT. THIS BALLOT IS A COMPONENT OF THE PREPETITION
SOLICITATION OF YOUR VOTE ON THE PREPACKAGED PLAN OF REORGANIZATION
DESCRIBED BELOW. THE VOTING DEADLINE IS 5:00 P.M. EASTERN STANDARD TIME
ON JANUARY 23, 2019.


                       IN THE UNITED STATES BANKRUPTCY COURT
                            FOR THE DISTRICT OF DELAWARE

                                                                Chapter 11 (Voluntary)
In re:
                                                                IMPORTANT: No chapter 11 case has
CHECKOUT HOLDING CORP., et al.,                                 been commenced as of the date of
                                                                distribution of this ballot. This ballot is a
                                            Debtors.1           prepetition solicitation of your vote on a
                                                                prepackaged plan of reorganization.
                                                                If chapter 11 cases are commenced, the
                                                                Debtors will request joint administration
                                                                of such cases.


    BALLOT FOR SECOND LIEN DEBT CLAIM HOLDERS TO ACCEPT OR REJECT
                              THE PLAN

                              CLASS 4: SECOND LIEN DEBT CLAIMS



                      THE VOTING DEADLINE TO ACCEPT OR REJECT
                      THE PLAN IS 5:00 P.M., EASTERN TIME, ON
                      JANUARY 23, 2019 (THE “VOTING DEADLINE”),
                      UNLESS EXTENDED BY THE DEBTORS.

1
 The Debtors in these chapter 11 cases, along with the last four digits of each Debtor’s federal tax identification
number are: Catalina Marketing Corporation (9007); Catalina Marketing Procurement, LLC (9333); Catalina
Marketing Technology Solutions, Inc. (8728); Catalina Marketing Worldwide, LLC (9687); CellFire Inc. (5599);
Checkout Holding Corp. (4651); Modiv Media, Inc. (3507); PDM Group Holdings Corporation (9148); PDM
Holdings Corporation (5025); PDM Intermediate Holdings A Corporation (6409); and PDM Intermediate Holdings
B Corporation (3278). The Debtors’ principal offices are located at 200 Carillon Parkway, St. Petersburg, FL
33716.

                                                                                   Second Lien Debt Claims
RLF1 20430310v.1
                   Case 18-12794-KG   Doc 13     Filed 12/12/18     Page 60 of 75


                                                        Ballot for Holders of Second Lien Debt Claims
                                                                                            in Class 4




                      YOUR BALLOT MUST BE ACTUALLY RECEIVED
                      BY THE VOTING AGENT BY THE VOTING
                      DEADLINE OR YOUR VOTE WILL NOT BE
                      COUNTED.


       This ballot (the “Ballot”) is provided to you to solicit your vote to accept or reject the
Joint Prepackaged Chapter 11 Plan of Checkout Holding Corp. and its Affiliated Debtors (the
“Plan”) for Checkout Holding Corp. and certain other of its affiliated debtors (collectively, the
“Debtors”). Capitalized terms used in this Ballot or the attached instructions that are not
otherwise defined herein shall have the meanings given to them in the Plan.

         Please use this Ballot to cast your vote to accept or reject the Plan if you are, as of
December 10, 2018 (the “Voting Record Date”), (i) a holder of a claim (a “Holder”) against the
Debtors arising under that certain Second Lien Credit Agreement, (such claims against the
Debtors arising under the Second Lien Credit Agreement, the “Second Lien Debt Claims”), and
(ii) are also an “accredited investor” within the meaning of Rule 501 of the Securities Act of
1933, as amended (an “Eligible Holder”). Only Eligible Holders holding Second Lien Debt
Claims may vote to accept or reject the Plan using this Ballot. If you hold one or more Second
Lien Debt Claims but you are not an Eligible Holder, you may not use this Ballot or any other
ballot to vote to accept or reject the Plan.

        The Plan is attached as Exhibit A to the Disclosure Statement for Joint Prepackaged
Chapter 11 Plan of Checkout Holding Corp. and Its Affiliated Debtors (the “Disclosure
Statement”), which accompanies this Ballot. The Disclosure Statement provides information to
assist you in deciding whether to accept or reject the Plan. If you do not have a Disclosure
Statement, you may obtain a copy from Prime Clerk, LLC (the “Voting Agent”) by visiting the
Voting Agent’s website at https://cases.primeclerk.com/Catalina, calling (844) 205-4337 (toll
free) or        (917) 460-0912 (international hotline), or sending an email to
Catalinaballots@primeclerk.com. You may wish to seek independent legal advice concerning
the Plan and your classification and treatment under the Plan.

       The Debtors intend to commence voluntary cases under Chapter 11 of Title 11 of the
United States Code (the “Bankruptcy Code”). The Plan can thereafter be confirmed by the
Bankruptcy Court and thereby made binding on you if it is accepted by the holders of at least
two-thirds of the aggregate principal amount and more than one-half in number of the Claims
voted in each Impaired Class, and if the Plan otherwise satisfies the applicable requirements of
section 1129(a) under the Bankruptcy Code. If the requisite acceptances are not obtained, the
Bankruptcy Court may nonetheless confirm the Plan if it finds that the Plan (a) provides fair and
equitable treatment to, and does not unfairly discriminate against, the Class or Classes rejecting
the Plan, and (b) otherwise satisfies the requirements of section 1129(b) of the Bankruptcy Code.
                                                                    Second Lien Debt Claims 6


RLF1 20430310v.1
                   Case 18-12794-KG   Doc 13   Filed 12/12/18     Page 61 of 75


                                                      Ballot for Holders of Second Lien Debt Claims
                                                                                          in Class 4




If the Plan is confirmed by the Bankruptcy Court, it will be binding on you whether or not you
vote or if you vote to reject the Plan. To have your vote counted, you must complete, sign and
return this Ballot to the Voting Agent by the Voting Deadline.

Your rights are described in the Disclosure Statement and the Plan annexed as Exhibit A
thereto. Both the Disclosure Statement and the Plan are included in the packet you
received with this Ballot. You should carefully and thoroughly review the Disclosure
Statement and Plan prior to voting. You may wish to obtain legal advice.

PLEASE BE ADVISED THAT THE PLAN CONTAINS CERTAIN RELEASE,
EXCULPATION, AND INJUNCTION PROVISIONS. THESE PROVISIONS ARE
FOUND IN ARTICLE X OF THE PLAN. YOU ARE ADVISED AND ENCOURAGED
TO CAREFULLY REVIEW AND CONSIDER THE PLAN, INCLUDING THE
RELEASE, EXCULPATION AND INJUNCTION PROVISIONS, AS YOUR RIGHTS
MIGHT BE AFFECTED.




                                                                 Second Lien Debt Claims          7


RLF1 20430310v.1
                   Case 18-12794-KG    Doc 13    Filed 12/12/18     Page 62 of 75


                                                        Ballot for Holders of Second Lien Debt Claims
                                                                                            in Class 4




                             IMPORTANT NOTICE REGARDING
                                TREATMENT FOR CLASS 4

        Claims in Class 4 (Second Lien Debt Claims) consist solely of Claims arising under that
certain Second Lien Credit Agreement, dated as of April 9, 2014.

       As described in more detail in the Disclosure Statement and Plan, if the Chapter 11 cases
are commenced, the Plan is confirmed and the Effective Date occurs, each holder of a Second
Lien Debt Claim shall be entitled to receive, in full and final satisfaction of such Claim, its Pro
Rata share of 10% of the New Common Stock issued on the Effective Date (subject to dilution
by the Management Incentive Plan).

     PLEASE READ THE DISCLOSURE STATEMENT AND PLAN FOR MORE
DETAILS.




                                                                   Second Lien Debt Claims          8


RLF1 20430310v.1
                   Case 18-12794-KG   Doc 13   Filed 12/12/18    Page 63 of 75


                                                     Ballot for Holders of Second Lien Debt Claims
                                                                                         in Class 4




              PLEASE READ THE ATTACHED VOTING INFORMATION AND
                INSTRUCTIONS BEFORE COMPLETING THIS BALLOT.

     PLEASE COMPLETE ALL APPLICABLE ITEMS BELOW. PLEASE FILL IN ALL
OF THE INFORMATION REQUESTED UNDER ITEM 4. IF THIS BALLOT HAS NOT
BEEN PROPERLY SIGNED IN THE SPACE PROVIDED, YOUR VOTE MAY NOT BE
VALID OR COUNTED AS HAVING BEEN CAST.


Item 1. Principal Amount of Claim. The undersigned hereby certifies that as of the Voting
Record Date, the undersigned was the Holder (or authorized signatory of such Holder) of a
Second Lien Debt Claim in the aggregate unpaid principal amount inserted into the box below,
without regard to any accrued but unpaid interest.

                                       $




                                                                Second Lien Debt Claims          9


RLF1 20430310v.1
                   Case 18-12794-KG     Doc 13    Filed 12/12/18     Page 64 of 75


                                                         Ballot for Holders of Second Lien Debt Claims
                                                                                             in Class 4


Item 2. Votes on Plan. Please vote either to accept or to reject the Plan with respect to your
Claims in Class 4 below. Any Ballot not marked either to accept or reject the Plan, or marked
both to accept and to reject the Plan, shall not be counted in determining acceptance or rejection
of the Plan.

                       Prior to voting on the Plan, please note the following:

    If you vote to accept the Plan, you shall be deemed to have consented to the release,
    injunction, and exculpation provisions set forth in sections 10.6, 10.7, and 10.8 of the
    Plan and attached hereto as Exhibit 1.

    If you (i) do not vote either to accept or reject the Plan, or (ii) vote to reject the Plan
    and do not check the box in Item 3 below, you shall be deemed to have consented to
    the release provisions set forth in Section 10.7 of the Plan and attached hereto as
    Exhibit 1.

    The Disclosure Statement and the Plan must be referenced for a complete
    description of the release, injunction, and exculpation.


         Second Lien Debt Claim Holder’s Vote on Plan. The undersigned Holder of a Class 4
         Second Lien Debt Claim votes to (check one box):

                      Accept the Plan                    Reject the Plan




                                                                        Second Lien Debt Claims
RLF1 20430310v.1
                   Case 18-12794-KG      Doc 13     Filed 12/12/18    Page 65 of 75
                                                          Ballot for Holders of Second Lien Debt Claims
                                                                                              in Class 4


Item 3. Optional Release Election. If you voted to reject the Plan in Item 2 above, check this
box if you elect not to grant the releases contained in Section 10.7 of the Plan. Election to
withhold consent is at your option. If you submit your Ballot without this box checked, or you
do not vote either to accept or reject the Plan, you will be deemed to consent to the releases
contained in Section 10.7 of the Plan to the fullest extent permitted by applicable law. If you
voted to accept the Plan in Item 2 above, you will be deemed to consent to the releases contained
in Section 10.7 of the Plan to the fullest extent permitted by applicable law.

                           The undersigned has voted to reject the Plan in Item 2 and elects not to
                   grant the releases contained in Section 10.7 of the Plan.




                                                                         Second Lien Debt Claims
RLF1 20430310v.1
                   Case 18-12794-KG    Doc 13     Filed 12/12/18      Page 66 of 75
                                                          Ballot for Holders of Second Lien Debt Claims
                                                                                              in Class 4




Item 4. Acknowledgments. By signing this Ballot, the Holder (or authorized signatory of such
Holder) acknowledges receipt of the Plan, the Disclosure Statement, and the other applicable
solicitation materials, and certifies that (i) it has the power and authority to vote to accept or
reject the Plan, (ii) it was the Holder (or is entitled to vote on behalf of such Holder) of the
Second Lien Debt Claim described in Item 1 as of the Voting Record Date, (iii) it is an
“accredited investor” within the meaning of Rule 501(a) under Regulation D of the Securities
Act of 1933, as amended, (iv) it has not submitted any other Ballots for other Class 4 Second
Lien Debt Claims held in other accounts or other record names, or if it has submitted Ballots for
other such Claims held in other accounts or other record names, then such Ballots indicate the
same vote to accept or reject the Plan, and (v) all authority conferred or agreed to be conferred
pursuant to this Ballot, and every obligation of the undersigned hereunder, shall be binding on
the transferees, successors, assigns, heirs, executors, administrators, trustees in bankruptcy, and
legal representatives of the undersigned, and shall not be affected by, and shall survive, the death
or incapacity of the undersigned. The undersigned understands that an otherwise properly
completed, executed, and timely returned Ballot failing to indicate either acceptance or rejection
of the Plan, or indicating both acceptance and rejection of the Plan, will not be counted.


                                              Name of Holder


                                              Signature


                                              Name of Signatory and Title


                                              Name of Institution (if different than Holder)


                                              Street Address


                                              City, State, Zip Code


                                              Telephone Number


                                              Date Completed




                                                                      Second Lien Debt Claims         2


RLF1 20430310v.1
                   Case 18-12794-KG    Doc 13    Filed 12/12/18    Page 67 of 75
                                                       Ballot for Holders of Second Lien Debt Claims
                                                                                           in Class 4


IN ORDER FOR YOUR VOTE TO BE COUNTED, YOUR COMPLETED BALLOT
MUST BE ACTUALLY RECEIVED BY THE VOTING AGENT BY THE VOTING
DEADLINE. PLEASE COMPLETE, SIGN, AND DATE THE BALLOT AND RETURN
IT PROMPTLY IN THE RETURN ENVELOPE PROVIDED OR AS FOLLOWS:

 By First Class Mail, Overnight Courier or Personal Delivery:

                    Catalina Marketing Corporation Ballot Processing
                    c/o Prime Clerk LLC
                    830 Third Avenue, 3rd Floor
                    New York, NY 11030




                     If Submitting Your Vote through the E-Balloting Portal

Prime Clerk will accept Ballots if properly completed through the E-Balloting Portal. To
submit your Ballot via the E-Balloting Portal, visit https://cases.primeclerk.com/catalina,
click on the “Submit E-Ballot” section of the website, and follow the instructions to
submit your Ballot.

IMPORTANT NOTE: You will need the following information to retrieve and submit
your customized electronic Ballot:

      Unique E-Ballot ID#:__________________________________________________

Prime Clerk’s E-Balloting Portal is the sole manner in which Ballots will be accepted via
electronic or online transmission. Ballots submitted by facsimile, email or other means
of electronic transmission will not be counted.

Each E-Ballot ID# is to be used solely for voting only those Claims described in Item 1 of
your electronic Ballot. Please complete and submit an electronic Ballot for each E-Ballot
ID# you receive, as applicable. Creditors who cast a Ballot using the E-Balloting Portal
should NOT also submit a paper Ballot.

If your Ballot is not received by Prime Clerk on or before the Voting Deadline, and such
Voting Deadline is not extended by the Debtors as noted above, your vote will not be
counted.

    BALLOTS RECEIVED VIA EMAIL OR FACSIMILE WILL NOT BE COUNTED.

                           TELEPHONE: (844) 205-4337 (TOLL FREE)

THE VOTING DEADLINE IS 5:00 P.M., EASTERN TIME, ON JANUARY 23, 2019.



                                                                       Second Lien Debt Claims
RLF1 20430310v.1
                   Case 18-12794-KG      Doc 13     Filed 12/12/18     Page 68 of 75
                                                           Ballot for Holders of Second Lien Debt Claims
                                                                                               in Class 4




IF YOU HAVE ANY QUESTIONS REGARDING THIS BALLOT OR THE VOTING
PROCEDURES, PLEASE CONTACT THE VOTING AGENT BY CALLING (844) 205-4337
(TOLL FREE) OR (917) 460-0912 (INTERNATIONAL HOTLINE), OR SENDING AN
EMAIL TO CATALINABALLOTS@PRIMECLERK.COM.

VOTING INFORMATION AND INSTRUCTIONS FOR COMPLETING THE BALLOT

1.       Complete the Ballot by providing all the information requested and sign, date, and return
         the Ballot in the envelope provided to the Voting Agent. Any Ballot that is illegible,
         contains insufficient information to identify the holder, does not contain an original
         signature, or is unsigned will not be counted.

         The Voting Agent will tabulate all properly completed Ballots received on or before
         the Voting Deadline. Ballots may not be submitted to the Voting Agent by facsimile or
         email.

2.       If neither the “accept” nor the “reject” box is checked in Item 2, or the Ballot is otherwise
         not properly completed, executed, or timely returned, then the Ballot may not be counted.
         If both the “accept” and the “reject” box are checked in Item 2, the Ballot will not be
         counted.

3.       You must vote all your Class 4 Second Lien Debt Claims under the Plan either to accept
         or reject the Plan. Accordingly, if you return more than one Ballot voting different
         Second Lien Debt Claims the Ballots are not voted in the same manner, and you do not
         correct this before the Voting Deadline, those Ballots will not be counted. An otherwise
         properly executed Ballot that attempts to partially accept and partially reject the Plan will
         likewise not be counted.

4.       If your Claim is held in multiple accounts, you may receive more than one Ballot coded
         for each such account for which your Claims are held. Similarly, if you hold a Claim in
         more than one Class entitled to vote you may receive more than one Ballot for each such
         Claim. Each Ballot votes only your Claims indicated on that Ballot. Accordingly, you
         must complete and return each Ballot you receive to vote multiple Claims.

5.       If you voted to reject the Plan and elect not to grant the releases contained in Section 10.7
         of the Plan, check the box in Item 3. Election to withhold consent is at your option. If
         you submit your Ballot without the box in Item 3 checked, you will be deemed to consent
         to the releases set forth in Section 10.7 of the Plan to the fullest extent permitted by
         applicable law.

6.       If you vote to accept the Plan by checking the “accept” box in Item 2, but you also check
         the box in Item 3, your election not to grant the releases will not be counted, as your vote
         in favor of the plan shall be deemed a consent to the releases set forth in Section 10.7 of
         the Plan to the fullest extent permitted by applicable law.


                                                                      Second Lien Debt Claims          2


RLF1 20430310v.1
                   Case 18-12794-KG     Doc 13     Filed 12/12/18     Page 69 of 75
                                                          Ballot for Holders of Second Lien Debt Claims
                                                                                              in Class 4




7.       The Ballot does not constitute, and shall not be deemed to be, a proof of claim or interest
         or an assertion or admission of a Claim or Interest.

8.       The Ballot is not a letter of transmittal and may not be used for any purpose other than to
         vote to accept or reject the Plan.

9.       If you cast more than one Ballot voting the same Claim prior to the Voting Deadline, the
         latest received, properly executed Ballot submitted to the Voting Agent will supersede
         any prior Ballot.

10.      In the event that (i) the Debtors revoke or withdraw the Plan, or (ii) the Confirmation
         Order is not entered or consummation of the Plan does not occur, this Ballot shall
         automatically be null and void and deemed withdrawn without any requirement of
         affirmative action by or notice to you.

11.      There may be changes made to the Plan that do not cause material adverse effects on an
         accepting Class. If such non-material changes are made to the Plan, the Debtors will not
         resolicit votes for acceptance or rejection of the Plan.

12.      NO PERSON HAS BEEN AUTHORIZED TO GIVE ANY INFORMATION OR
         ADVICE, OR TO MAKE ANY REPRESENTATION, OTHER THAN WHAT IS
         CONTAINED IN THE MATERIALS MAILED WITH THIS BALLOT OR OTHER
         MATERIALS AUTHORIZED BY THE BANKRUPTCY COURT.

13.      PLEASE RETURN YOUR BALLOT PROMPTLY TO THE VOTING AGENT IN THE
         ENVELOPE PROVIDED.

14.      IF YOU HAVE RECEIVED A DAMAGED BALLOT OR HAVE LOST YOUR
         BALLOT, OR IF YOU HAVE ANY QUESTIONS CONCERNING THIS BALLOT OR
         THE VOTING PROCEDURES, PLEASE CALLING THE VOTING AGENT AT (844)
         205-4337 (TOLL FREE) OR (917) 460-0912 (INTERNATIONAL HOTLINE), OR
         SENDING AN EMAIL TO CATALINABALLOTS@PRIMECLERK.COM. PLEASE
         DO NOT DIRECT ANY INQUIRIES TO THE BANKRUPTCY COURT.

15.      THE VOTING AGENT IS NOT AUTHORIZED TO AND WILL NOT PROVIDE
         LEGAL ADVICE.

16.      ALL BALLOTS MUST BE FULLY EXECUTED TO BE COUNTED. IF YOU ARE
         COMPLETING THIS BALLOT ON BEHALF OF ANOTHER PERSON OR ENTITY,
         INDICATE YOUR RELATIONSHIP WITH SUCH PERSON OR ENTITY AND THE
         CAPACITY IN WHICH YOU ARE SIGNING. YOU MAY BE REQUIRED TO
         PROVIDE ADDITIONAL INFORMATION OR DOCUMENTATION WITH
         RESPECT TO SUCH RELATIONSHIP.




                                                                     Second Lien Debt Claims          3


RLF1 20430310v.1
                   Case 18-12794-KG      Doc 13    Filed 12/12/18    Page 70 of 75
                                                         Ballot for Holders of Second Lien Debt Claims
                                                                                             in Class 4




IN ORDER FOR YOUR VOTE TO BE COUNTED, YOUR COMPLETED BALLOT
MUST BE ACTUALLY RECEIVED BY THE VOTING AGENT BY THE VOTING
DEADLINE AT THE FOLLOWING ADDRESS:

 By First Class Mail, Overnight Courier or Personal Delivery:

                    Catalina Marketing Corporation Ballot Processing
                    c/o Prime Clerk LLC
                    830 Third Avenue, 3rd Floor
                    New York, NY 11030

 If submitting your vote through the E-Balloting Portal:

                    Please visit https://cases.primeclerk.com/catalina and click on the “Submit
                    E-Ballot” section of the website, and follow the instructions.


                           TELEPHONE: (844) 205-4337 (TOLL FREE)


   THE VOTING DEADLINE IS 5:00 P.M., EASTERN TIME, ON JANUARY 23, 2019.




                                                                    Second Lien Debt Claims          4


RLF1 20430310v.1
                   Case 18-12794-KG   Doc 13   Filed 12/12/18     Page 71 of 75
                                                      Ballot for Holders of Second Lien Debt Claims
                                                                                          in Class 4


                                          Exhibit 1




                                                                     Second Lien Debt Claims
RLF1 20430310v.1
                   Case 18-12794-KG   Doc 13    Filed 12/12/18     Page 72 of 75
                                                       Ballot for Holders of Second Lien Debt Claims
                                                                                           in Class 4


Plan Injunction, Releases, and Exculpation

               If you vote to accept the Plan or you, directly or indirectly, receive and
accept a distribution under the Plan, you shall be deemed to have consented to the
injunction and exculpation provisions set forth in sections 10.6, 10.7, and 10.8 of the Plan.
If you are entitled to vote on the Plan and you (i) vote to accept the Plan, (ii) do not vote to
either accept or reject the Plan, or (iii) vote to reject the Plan and do not check the box in
Item 3 above, you shall be deemed to have consented to the release provisions set forth in
Section 10.7 of the Plan. The Disclosure Statement and the Plan must be referenced for a
complete description of the release, injunction, and exculpation. Capitalized terms used in
this Exhibit that are not otherwise defined herein shall have the meanings ascribed to them
in the Plan Releases.



10. 6 Plan Injunction.

                       (a)    Except as otherwise provided in this Plan, in the Plan
Documents, or in the Confirmation Order, as of the entry of the Confirmation Order but
subject to the occurrence of the Effective Date, all Persons who have held, hold, or may
hold Claims or Interests are, with respect to any such Claim or Interest, permanently
enjoined after the entry of the Confirmation Order from: (i) commencing, conducting, or
continuing in any manner, directly or indirectly, any suit, action, or other proceeding of
any kind (including, without limitation, any proceeding in a judicial, arbitral,
administrative, or other forum) against or affecting, directly or indirectly, a Debtor, a
Reorganized Debtor, or an Estate or the property of any of the foregoing, or any direct or
indirect transferee of any property of, or direct or indirect successor in interest to, any of
the foregoing Persons mentioned in this subsection (i) or any property of any such
transferee or successor; (ii) enforcing, levying, attaching (including, without limitation, any
prejudgment attachment), collecting, or otherwise recovering in any manner or by any
means, whether directly or indirectly, any judgment, award, decree, or order against a
Debtor, a Reorganized Debtor, or an Estate or its property, or any direct or indirect
transferee of any property of, or direct or indirect successor in interest to, any of the
foregoing Persons mentioned in this subsection (ii) or any property of any such transferee
or successor; (iii) creating, perfecting, or otherwise enforcing in any manner, directly or
indirectly, any encumbrance of any kind against a Debtor, a Reorganized Debtor, or an
Estate or any of its property, or any direct or indirect transferee of any property of, or
successor in interest to, any of the foregoing Persons mentioned in this subsection (iii) or
any property of any such transferee or successor; (iv) acting or proceeding in any manner,
in any place whatsoever, that does not conform to or comply with the provisions of this
Plan, and the Plan Documents, to the full extent permitted by applicable law; and
(v) commencing or continuing, in any manner or in any place, any action that does not
comply with or is inconsistent with the provisions of this Plan and the Plan Documents;
provided, that nothing contained herein shall preclude such Persons who have held, hold, or
may hold Claims against, or Interests in, a Debtor, a Reorganized Debtor, or an Estate
from exercising their rights and remedies, or obtaining benefits, pursuant to and consistent
with the terms of this Plan and the Plan Documents.

                                                                      Second Lien Debt Claims
RLF1 20430310v.1
                   Case 18-12794-KG   Doc 13   Filed 12/12/18     Page 73 of 75
                                                      Ballot for Holders of Second Lien Debt Claims
                                                                                          in Class 4




                    (b)    By accepting distributions pursuant to this Plan, each holder of
an Allowed Claim or Interest will be deemed to have affirmatively and specifically
consented to be bound by this Plan, including, without limitation, the injunctions set forth
in this Section.

10.7     Releases.

                      (a)     Releases by the Debtors. As of the Effective Date, except for
the rights and remedies that remain in effect from and after the Effective Date to enforce
this Plan and the Plan Documents, for good and valuable consideration, the adequacy of
which is hereby confirmed, including, without limitation, the service and contributions of
the Released Parties to facilitate the reorganization of the Debtors and the implementation
of the Restructuring, the Released Parties are deemed forever released and discharged by
the Debtors, the Reorganized Debtors, and the Estates, in each case on behalf of themselves
and their respective successors, assigns, and representatives and any and all other entities
that may purport to assert any Cause of Action derivatively, by or through the foregoing
entities, from any and all claims, interests, obligations, suits, judgments, damages,
demands, debts, rights, Causes of Action, losses, remedies, or liabilities whatsoever,
including any derivative claims, asserted or assertable on behalf of the Debtors, the
Reorganized Debtors, or their Estates, whether known or unknown, foreseen or
unforeseen, existing or hereinafter arising, in law, equity, or otherwise, that the Debtors,
the Reorganized Debtors, or their Estates would have been legally entitled to assert in their
own right (whether individually or collectively) or on behalf of the holder of any Claim or
Interest or other entity, based on or relating to, or in any manner arising from, in whole or
in part, the Debtors, the Chapter 11 Cases, the purchase, sale, or rescission of the purchase
or sale of any Security of the Debtors or the Reorganized Debtors, the subject matter of, or
the transactions or events giving rise to, any Claim or Interest that is treated in this Plan,
the business or contractual arrangements between any Debtor and any Released Party, the
Restructuring, the restructuring of any Claim or Interest before or during the Chapter 11
Cases, the Restructuring Transactions, the DIP Facility, the Amended and Restated First
Lien Credit Facility, the negotiation, formulation, or preparation of the Disclosure
Statement, the Restructuring Support Agreement and any exhibits or documents relating
thereto, and this Plan and related agreements, instruments, and other documents
(including the Plan Documents), the solicitation of votes with respect to this Plan, any other
act or omission, transaction, agreement, event, or other occurrence, or any other relief
obtained by the Debtors in the Chapter 11 Case, other than Claims or Causes of Action
arising out of or related to any act or omission of a Released Party that is a criminal act or
constitutes intentional fraud.

                      (b)    Releases by Holders of Claims and Interests. As of the
Effective Date, except for the rights and remedies that remain in effect from and after the
Effective Date to enforce this Plan and the Plan Documents, for good and valuable
consideration, the adequacy of which is hereby confirmed, including, without limitation,
the service of and contribution of the Released Parties to facilitate the reorganization of the
Debtors and the implementation of the Restructuring, the Released Parties are deemed
                                                                 Second Lien Debt Claims          2


RLF1 20430310v.1
                   Case 18-12794-KG   Doc 13   Filed 12/12/18     Page 74 of 75
                                                      Ballot for Holders of Second Lien Debt Claims
                                                                                          in Class 4




forever released and discharged by the (i) the holders of all Claims and Interests who vote
to accept this Plan, (ii) holders of Claims or Interests that are Unimpaired under this Plan,
where the applicable Claims or Interests have been fully paid or otherwise satisfied in
accordance with this Plan, (iii) holders of Claims or Interests whose vote to accept or reject
this Plan was solicited but who did not vote either to accept or to reject this Plan, (iv)
holders of Claims or Interests who voted to reject this Plan but did not opt out of granting
the releases set forth herein, (v) the Restructuring Support Parties, (vi) the First Lien
Agent, (vii) the Second Lien Agent, (viii) the DIP Facility Agent, and (ix) the DIP Facility
Lenders, from any and all claims, interests, obligations, suits, judgments, damages,
demands, debts, rights, Causes of Action, losses, remedies, and liabilities whatsoever,
including any derivative claims, asserted or assertable on behalf of the Debtors, whether
known or unknown, foreseen or unforeseen, existing or hereinafter arising, in law, equity,
or otherwise, that such holders or their affiliates would have been legally entitled to assert
in their own right (whether individually or collectively) or on behalf of the holder of any
Claim or Interest or other entity, based on or relating to, or in any manner arising from, in
whole or in part, the Debtors, the Chapter 11 Cases, the purchase, sale, or rescission of the
purchase or sale of any Security of the Debtors or the Reorganized Debtors, the subject
matter of, or the transactions or events giving rise to, any Claim or Interest that is treated
in this Plan, the business or contractual arrangements between any Debtor and any
Released Party, the Restructuring, the restructuring of any Claim or Interest before or
during the Chapter 11 Cases, the Restructuring Transactions, the DIP Facility, the
Amended and Restated First Lien Credit Facility, the negotiation, formulation, or
preparation of the Disclosure Statement, the Restructuring Support Agreement and any
exhibits or documents relating thereto, this Plan and related agreements, instruments, and
other documents (including the Plan Documents), the solicitation of votes with respect to
this Plan, any other act or omission, or any other relief obtained by the Debtors in the
Chapter 11 Case, other than Claims or Causes of Action arising out of or related to any act
or omission of a Released Party that is a criminal act or constitutes intentional fraud, gross
negligence, or willful misconduct; provided, that solely for purposes of this section 10.7(b),
the Berkshire Funds shall be excluded from the definition of Released Party if they have
not executed the Restructuring Support Agreement on or before the deadline established in
the Plan for filing the Plan Supplement and become a Consenting Sponsor.

10.8     Exculpation.

               To the extent permitted by applicable law, no Exculpated Party shall have or
incur, and each Exculpated Party is hereby released and exculpated from, any Claim,
Interest, obligation, suit, judgment, damage, demand, debt, right, Cause of Action, loss,
remedy, or liability for any claim in connection with or arising out of the administration of
the Chapter 11 Cases; the negotiation and pursuit of the DIP Facility, the Amended and
Restated First Lien Credit Facility, the Management Incentive Plan, the Disclosure
Statement, the Restructuring Support Agreement, the Restructuring Transactions, and this
Plan (including the Plan Documents), or the solicitation of votes for, or confirmation of,
this Plan; the funding of this Plan; the occurrence of the Effective Date; the administration
of this Plan or the property to be distributed under this Plan; the issuance of Securities
                                                                 Second Lien Debt Claims          3


RLF1 20430310v.1
                   Case 18-12794-KG   Doc 13   Filed 12/12/18     Page 75 of 75
                                                      Ballot for Holders of Second Lien Debt Claims
                                                                                          in Class 4




under or in connection with this Plan; or the transactions in furtherance of any of the
foregoing; except for intentional fraud, gross negligence, or willful misconduct, but in all
respects such entities shall be entitled to reasonably rely upon the advice of counsel with
respect to their duties and responsibilities pursuant to this Plan. The Exculpated Parties
and each of their respective affiliates, agents, directors, officers, employees, advisors, and
attorneys have acted in compliance with the applicable provisions of the Bankruptcy Code
with regard to the solicitation and distribution of Securities pursuant to this Plan and,
therefore, are not, and on account of such distributions shall not be, liable at any time for
the violation of any applicable law, rule, or regulation governing the solicitation of
acceptances or rejections of this Plan or such distributions made pursuant to this Plan,
including the issuance of Securities thereunder. This exculpation shall be in addition to,
and not in limitation of, all other releases, indemnities, exculpations, and any other
applicable law or rules protecting such Exculpated Parties from liability.




                                                                 Second Lien Debt Claims          4


RLF1 20430310v.1
